         Case 24-15150-VFP                   Doc 78        Filed 06/24/24 Entered 06/24/24 15:21:49                             Desc Main
                                                          Document      Page 1 of 95




Fill in this information to identify the case:

Debtor name         703 Bakery Corp.

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)     24-15150 (VFP)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration       Disclosure of Compensation of Attorney for Debtors
                                                                Corporate Ownership Statement (Rule 7007.1)

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 24, 2024                   X /s/ Oleg Azizov
                                                           Signature of individual signing on behalf of debtor

                                                            Oleg Azizov
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name 703 Bakery Corp.
United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                              Check if this is an

Case number (if known):        24-15150 (VFP)                                                                                               amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Order Co.             Katya Bure                                                                                                                              $800,000.00
156 Fifth Avenue,
7th Fl.               katya.bure@order.
New York, NY 10010 com
                      914-278-7944
ABG 2021 CLAT                                       CLAT                                                                                                      $539,641.00
2416 Avenue J
Brooklyn, NY 11210
750 8th Avenue LLC                                  Rent for premises         Contingent                                                                      $421,000.00
c/o Eric H. Kahan,                                  located at:               Unliquidated
Esq.                                                750 Eighth                Disputed
SKH Heiberger LLP                                   Avenue
228 East 45th Street,                               New York, NY
14th Fl.                                            10036
New York, NY 10017
Dependable Food                                     Trade debt                                                                                                $289,657.29
25 Executive
Avenue
Edison, NJ 08817
Ridgefield Kosher                                   Trade debt                                                                                                $148,036.70
Bakery
501 Broad Avenue
Ridgefield, NJ 07657
American Food                                       Trade debt                                                                                                $130,851.00
Connection
46 Russell Street
Roslyn Heights, NY
11577
Frank M. Gargiulo     Anna Kuchno                   Trade debt                                                                                                $114,817.44
and Son, Inc.
535 Sweetland         AKuchno@gargiul
Avenue                oproduce.com
Hillside, NJ 07205    908-858-4344
Bowery Farming        Edward Lavish                 Trade debt                                                                                                $110,768.23
Inc.
151 W. 26th Street,   ar@boweryfarming
12th Fl.              .com
New York, NY 10001

Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     703 Bakery Corp.                                                                         Case number (if known)         24-15150 (VFP)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Pawn Funding                                                                                                                                                  $100,000.00
2167 E. 21st Street,
Ste. 252
Brooklyn, NY 11229
Mehadrin Dairy            Joel F.                   Trade debt                                                                                                  $91,710.74
100 Trumbull St.
Elizabeth, NJ 07206       Joelf@mehadrin.co
                          m
                          718-578-8150
McDonald Paper &          Nickolai Karpuchok Trade debt                                                                                                         $90,910.00
Restaurant Supplies
999 3rd Avenue      nick@mcdonaldpa
Brooklyn, NY 11232 per.com
                    646-662-3410
Paradise            Ruben Beityakov    Trade debt                                                                                                               $85,225.96
Distributors, LLC
3592 Bedford        ruben@paradisedis
Avenue              tributor.com
Brooklyn, NY 11210 347-743-9640
Dairyland The       Marisol Aciemo;    Trade debt                                                                                                               $77,000.00
Chefs' Warehouse    Gregg woods
240 Food Centr
Drive               macierno@chefwar
Bronx, NY 10474     ehouse.com;
                    gwoods@chefware
                    house.com
                    718-842-8700
ConEdison                              Services                                                                                                                 $65,000.00
PO Box 1701
New York, NY
10116-1701
David Rosen Bakery Yoni Friedman       Trade debt                                                                                                               $62,607.77
Supply Co.
59-21 Queens        yoni@bakersautho
Midtown             rity.com
Expressway          718-381-0600
Maspeth, NY 11378
Silver Lake                            Rent                                                                                                                     $60,000.00
37-09 Main Street,  management.office
Ste. 3B             @aol.com
Flushing, NY 11354 718-460-8878
Limitless Packaging                    Trade debt                                                                                                               $54,378.37
LLC                 info@limitlesspack
2361 Nostrand       aging.com
Avenue, Ste. 402
Brooklyn, NY 11210
Correlative Smart                                                                                                                                               $50,000.00
Engineering
8225 5th Avenue,
#353
Brooklyn, NY 11209



Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     703 Bakery Corp.                                                                         Case number (if known)         24-15150 (VFP)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
3611 Joint Venture                                  Rent                                                                                                        $48,319.25
LLC                       shaindy@theweiss
PO Box 180240             realty.com
Brooklyn, NY 11218        718-855-2000
G&P Gourmet               Josh Cohen                Trade debt                                                                                                  $47,543.35
PO Box 340978
Brooklyn, NY 11234        gpgourmet12@gm
                          ail.com
                          760-567-0844




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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Fill in this information to identify the case:

Debtor name           703 Bakery Corp.

United States Bankruptcy Court for the:                      DISTRICT OF NEW JERSEY

Case number (if known)              24-15150 (VFP)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           392,178.82

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           392,178.82


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           323,233.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        4,124,812.39


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           4,448,045.39




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name      703 Bakery Corp.

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY

Case number (if known)     24-15150 (VFP)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest
2.        Cash on hand                                                                                                                   $22,000.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number


          3.1.   Bank of America                                                                 4694                                  $102,609.64




          3.2.   Bank of America                                                                 8990                                    $21,027.06




          3.3.   Dime                                                                            3369                                     $1,290.38




          3.4.   Dime                                                                            5900                                     $2,709.49




          3.5.   Dime                                                                            6007                                     $2,522.25



4.        Other cash equivalents (Identify all)




Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                                page 1
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Debtor           703 Bakery Corp.                                                           Case number (If known) 24-15150 (VFP)
                 Name


5.        Total of Part 1.                                                                                                          $152,158.82
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit
                   Security deposits held by landlords:
                   Lyndhurst - Normaze Associates Inc.; $14,000
                   Times Square - 750 Ave LLC; $20,000
                   Avenue M - Midwood Realty LLC; $15,600
                   Brooklyn Square - $4,000
          7.1.     Lakewood - Lakewood Madison Plaza LP/Lakewood Madison Plaza DE 2 LLC; $59,520                                      $113,120.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                          $113,120.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                      4,500.00      -                                   0.00 = ....                   $4,500.00
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                            $4,500.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 2
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Debtor       703 Bakery Corp.                                                        Case number (If known) 24-15150 (VFP)
             Name

          Raw materials;
          perishable; purchased
          within 20 days of filing                                            Unknown                                            $20,000.00



20.       Work in progress

21.       Finished goods, including goods held for resale
          Baked frozen goods;
          perishable                                                          Unknown                                            $20,000.00



22.       Other inventory or supplies
          Paper goods                                                         Unknown                                            $20,000.00



23.       Total of Part 5.                                                                                                   $60,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

39.       Office furniture
          Misc. office furniture                                              Unknown          Liquidation                        $2,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Misc office equipment                                               Unknown          Liquidation                        $2,000.00



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 3
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Debtor       703 Bakery Corp.                                                               Case number (If known) 24-15150 (VFP)
             Name

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $4,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2022 Ford Transit 250 Refrigerated
                   Vehicle
                   1FTBR3U87NKA85205                                                 Unknown        Comparable sale                   $40,000.00


          47.2.    2013 GMC Savanna 3500 Cutaway
                   VIN 1GTZ7TCG7D1142245                                             Unknown                                          $13,400.00


          47.3.    2021 Isuzu NQR Truck VIN
                   JALESW168C7900734 (inoperable)                                    $5,000.00      Liquidation                        $5,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Miscellaneous machinery and equipment
          listed on attached schedule.                                               Unknown                                           Unknown




51.       Total of Part 8.                                                                                                          $58,400.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 4
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Debtor       703 Bakery Corp.                                                              Case number (If known) 24-15150 (VFP)
             Name


             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:     Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 5
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Debtor          703 Bakery Corp.                                                                                    Case number (If known) 24-15150 (VFP)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $152,158.82

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $113,120.00

82. Accounts receivable. Copy line 12, Part 3.                                                                       $4,500.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $60,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $4,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $58,400.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $392,178.82           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $392,178.82




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 6
Case 24-15150-VFP Doc 78
   Sch. A/B, No. 50 - Equipment List
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                                    Quantity       Net book Value Valuation method   Value of Debtor's Interest

                                                                  Liquidation        Unknown
 Patis Lyndhurst


 bread slicer                                  1            800
 bakery showcase                               3           2000
 undercounter lowboy refrigirator              4            700
  soup warmers                                 1             50
 clover pos system                             2           1000
 altosham owen                                 1           2000
 lowboy sandwich refridgirator                 1            800
 cts bread toaster                             1            200
 panini machine                                2            300
 walk in refrigerator                          6           5000
 double convection owen                        3           1000
 deck owen                                     1           7000
 sheeter                                       1           8000
 proofing cabinet                              2            450
 mixer                                         6           3000
 pan washer                                    2           3000
 large ice machine                             1           3000
 miwe deck owen                                1          10000
 miwe rotating owen                            1           5000
 dough divider                                 1           3000
 miwe loader                                   1           1000
 doughnut frying machine                       1           1500
 large proofing cabinet                        1           7000
 medium proofing cabinet                       1           3000
 cookie depositor                              1           5000
 dough decider                                 1           5000


 Patis Teaneck

 grabngo refrigirator                          1           1200
 bread slicer                                  1            800
 bakery showcase                               2           2000
 undercounter lowboy refrigirator              2            700
 small convection oven                         1            300
  soup warmers                                 2             50
  clover pos system                            2           1000
 single door refrigerators                     2            500
 electric pizza owen                           1            750
 vantco grddle                                 1            300
 lowboy sandwich refridgirator                 1            800
 cts bread toaster                             1            200
 paninpro electrolux panini machine            1           3000
 3 compartment sink                            1            700
 stainless steel preptable                     2            200
 Ice Machine                                   1            500

 Patis Lawrence

 bread slicer                                  1            800
 bakery showcase                               2           2000
 undercounter lowboy refrigirator              1            700
 small convection oven                         2            300
  soup warmers                                 2             50
  clover pos system                            2           1000
 electric pizza owen                           1            750
 vantco griddle                                1            300
 lowboy sandwich refrigerator                  1            800
 cts bread toaster                             1            200
 paninpro electrolux panini machine            1           3000
 3 compartment sink                            1            700
 stainless steel preptable                     3            200
 Ice Machine                                   1            500

 Patis Ave M

 grabngo refrigirator                          1           1200
 bread slicer                                  1            800
 8 ft salad bar refrigirator                   0
 bakery showcase                               3           2000
 undercounter lowboy refrigirator              1            700
 small convection oven                         2            300
  soup warmers                                 3             50
  clover pos system                            2           1000
 single door refrigerators                     6            500
 electric pizza owen                           1            750
 vantco grddle                                 1            300
 lowboy sandwich refridgirator                 1            800
 cts bread toaster                             1            200
 paninpro electrolux panini machine            1           3000
 cooltech pizza lowboy fridge                  1            800
 3 compartment sink                            1            700
 stainless steel preptable                     3            200
 Ice Machine                                   1            500

 Patis Times Square

 grabngo refrigirator                          2           1200
 bakery showcase                               2           2000
 undercounter lowboy refrigirator              2            700
 small convection oven                         1            300
  soup warmers                                 2             50
  clover pos system                            2           1000
 altosham owen                                 1           3000
 vantco grddle                                 1            300
 lowboy sandwich refridgirator                 1            800
 cts bread toaster                             1            200
 paninpro electrolux panini machine            1           3000
 cooltech pizza lowboy fridge                  1            800
 3 compartment sink                            1            700
 stainless steel preptable                     1            200
 Ice Machine                                   1            500

 Patis Amsterdam Ave

 8 ft salad bar refrigirator                   1           3000
 bakery showcase                               1           2000
 undercounter lowboy refrigirator              2            700
 small convection oven                         1            300
  soup warmers                                 1             50
  clover pos system                            2           1000
 electric pizza owen                           1            750
 griddle                                       1            300
 lowboy sandwich refridgirator                 1            800
 cts bread toaster                             1            200
 paninpro electrolux panini machine            1           3000
 cooltech pizza lowboy fridge                  1            800
 3 compartment sink                            1            700
 stainless steel preptable                     3            200
 Ice Machine                                   1            500

 Park


 grabngo refrigirator                          1           1200
 bread slicer                                  1            800
 8 ft salad bar refrigirator                   1           3000
 bakery showcase                               1           2000
 undercounter lowboy refrigirator              3            700
  soup warmers                                 1             50
  clover pos system                            2           1000
 walk in refrigerator                          1            500
 altosham owen                                 1           3000
 vantco grddle                                 1            300
 lowboy sandwich refridgirator                 1            800
 cts bread toaster                             1            200
 paninpro electrolux panini machine            1           3000
 cooltech pizza lowboy fridge                  1            800
 3 compartment sink                            1            700
 Ice Machine                                   1            500



 Patis Brooklyn Square

 grabngo refrigirator                          1           1200
 bakery showcase                               1           2000
 undercounter lowboy refrigerator              1            700
 small convection oven                         1            300
  soup warmers                                 2             50
  clover pos system                            2           1000
 double door refrigerators                     2            500
 electric pizza owen                           1            750
 lowboy sandwich refridgirator                 1            800
 cts bread toaster                             1            200
 paninpro electrolux panini machine            1           3000
 cooltech pizza lowboy fridge                  1            800
 stainless steel preptable                     1            200
 Ice Machine                                   1            500

 Patis Lakewood

 8 ft salad bar refrigirator                   1           3000
 bakery showcase                               2           2000
 undercounter lowboy refrigirator              1            700
 small convection oven                         1            300
  soup warmers                                 1             50
  clover pos system                            2           1000
 single door refrigerators                     0            500
 altosham owen                                 1           3000
 griddle                                       1            300
 lowboy sandwich refridgirator                 1            800
 cts bread toaster                             1            200
 paninpro electrolux panini machine            1           3000
 cooltech pizza lowboy fridge                  1            800
 3 compartment sink                            1            700
 stainless steel preptable                     2            200
 Ice Machine                                   1            500

 Patis Kingston Ave

 grabngo refrigirator                          1           1200
 bread slicer                                  1            800
 8 ft salad bar refrigirator                   1           3000
 bakery showcase                               1           2000
 undercounter lowboy refrigerator              1            700
 small convection oven                         1            300
 soup warmers                                  2             50
 clover pos system                             2           1000
 single door refrigerators                     6            500
 electric pizza owen                           1            750
 altosham owen                                 1           4000
 vantco grddle                                 1            300
 universal lowboy fridge                       1            800
 cts bread toaster                             1            200
 paninpro nemco panini machine                 1           3000
 universal salad bar fridge                    1           1000
 cooltech pizza lowboy fridge                  1            800
 regency 3 compartment sink                    1            700
 stainless steel preptable                     3            200
 ice machine                                   1            500




                                                                                                                              1
          Case 24-15150-VFP                        Doc 78         Filed 06/24/24 Entered 06/24/24 15:21:49                                 Desc Main
                                                                 Document     Page 13 of 95
Fill in this information to identify the case:

Debtor name         703 Bakery Corp.

United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY

Case number (if known)             24-15150 (VFP)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Balboa Capital                               Describe debtor's property that is subject to a lien                     Unknown                  Unknown
      Creditor's Name                              Various kitchen equipment
      Collection Dept.
      575 Anton Blvd., 12th Fl.
      Costa Mesa, CA 92626
      Creditor's mailing address                   Describe the lien
                                                   Equipment lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9126
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      Banclease Acceptance
2.2                                                                                                                         Unknown                  Unknown
      Corp.                                        Describe debtor's property that is subject to a lien
      Creditor's Name                              Kitchen equipment
      8221 Tristar Drive
      Irving, TX 75063
      Creditor's mailing address                   Describe the lien
                                                   Equipment lease
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      5/2021                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8102
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 11
         Case 24-15150-VFP                       Doc 78          Filed 06/24/24 Entered 06/24/24 15:21:49                            Desc Main
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Debtor      703 Bakery Corp.                                                                      Case number (if known)    24-15150 (VFP)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Centra Funding                              Describe debtor's property that is subject to a lien                     Unknown           Unknown
      Creditor's Name                             Walk-in freezer
      1400 Preston Road, #115
      Plano, TX 75093
      Creditor's mailing address                  Describe the lien
                                                  Equipment lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8458
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Citizens Capital                            Describe debtor's property that is subject to a lien                     Unknown           Unknown
      Creditor's Name                             Kitchen equipment from Direct Kitchen
      501 w. Broadway, 8th Fl.
      San Diego, CA 92101
      Creditor's mailing address                  Describe the lien
                                                  Equipment lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1074
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Citizens Capital                            Describe debtor's property that is subject to a lien                     Unknown           Unknown
      Creditor's Name                             Gas oven
      501 W. Broadway, 8th Fl.
      San Diego, CA 92101
      Creditor's mailing address                  Describe the lien
                                                  Equipment lease from Direct Kitchen
                                                  Equipment



Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 11
         Case 24-15150-VFP                       Doc 78          Filed 06/24/24 Entered 06/24/24 15:21:49                            Desc Main
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Debtor      703 Bakery Corp.                                                                      Case number (if known)    24-15150 (VFP)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      67/26/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      015A
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Commercial Funding
2.6                                                                                                                        Unknown           Unknown
      Partners, LLC                               Describe debtor's property that is subject to a lien
      Creditor's Name                             Kitchen Equipment
      12198 S. State Street, Ste. 4
      Draper, UT 84020
      Creditor's mailing address                  Describe the lien
                                                  Equipment lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/2022 and 5/2023                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   CPC Equipment                               Describe debtor's property that is subject to a lien                     Unknown           Unknown
      Creditor's Name                             Kitchen equipment
      10900 Wayzata Blvd., Ste.
      300
      Minnetonka, MN 55305
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2022                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 11
         Case 24-15150-VFP                       Doc 78          Filed 06/24/24 Entered 06/24/24 15:21:49                            Desc Main
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Debtor      703 Bakery Corp.                                                                      Case number (if known)    24-15150 (VFP)
            Name



      CT Corporation System, as
2.8                                                                                                                        Unknown           Unknown
      Representative                              Describe debtor's property that is subject to a lien
      Creditor's Name                             Kitchen equipment
      Attn: SRPS
      330 N. Brand Blvd., Ste. 700
      Glendale, CA 91203
      Creditor's mailing address                  Describe the lien
                                                  Equipment leases
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      Misc. UCCs
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Financial Pacific Leasing,
2.9                                                                                                                        Unknown           Unknown
      Inc.                                        Describe debtor's property that is subject to a lien
      Creditor's Name                             Misc. kitchen equipment
      3455 S. 344th Way, Ste. 300
      Federal Way, WA 98001
      Creditor's mailing address                  Describe the lien
                                                  Equipment lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
0     First Citizens Bank & Trust                 Describe debtor's property that is subject to a lien                     Unknown           Unknown
      Creditor's Name                             Walk-in freezer and walk-in refrigerator
      Attn: Recovery
      10201 Centurion Parkway,
      N
      Jacksonville, FL 32256
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known             Yes


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4 of 11
         Case 24-15150-VFP                       Doc 78          Filed 06/24/24 Entered 06/24/24 15:21:49                            Desc Main
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Debtor      703 Bakery Corp.                                                                      Case number (if known)    24-15150 (VFP)
            Name

                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2557
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
1     First Utah Bank                             Describe debtor's property that is subject to a lien                     Unknown           Unknown
      Creditor's Name                             Kitchen equipment
      3826 South 2300, E
      Salt Lake City, UT 84109
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
2     HNB DES                                     Describe debtor's property that is subject to a lien                     Unknown           Unknown
      Creditor's Name                             Kitchen equipment
      17 S. High Street
      Columbus, OH 43215
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 5 of 11
         Case 24-15150-VFP                       Doc 78          Filed 06/24/24 Entered 06/24/24 15:21:49                               Desc Main
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Debtor      703 Bakery Corp.                                                                      Case number (if known)     24-15150 (VFP)
            Name

2.1   Huntington National Bank
3     (The)                                       Describe debtor's property that is subject to a lien                     Unknown            Unknown
      Creditor's Name                             Kitchen equipment
      1405 Xenium Lane, N
      (PCC180)
      Plymouth, MN 55441
      Creditor's mailing address                  Describe the lien
                                                  Equipment lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/26/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6198
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Isuzu Finance of America,
4     Inc.                                        Describe debtor's property that is subject to a lien                     $40,000.00         $40,000.00
      Creditor's Name                             2022 Ford Transit 250 Refrigerated Vehicle
      2500 Westchester Avenue,                    1FTBR3U87NKA85205
      Ste. 312
      Purchase, NY 10577
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/9/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8517
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
5     LCA Bank Corporation                        Describe debtor's property that is subject to a lien                     Unknown            Unknown
      Creditor's Name                             Kitchen equipment
      1441 W. Ute Blvd., Ste. 250
      Park City, UT 84098
      Creditor's mailing address                  Describe the lien
                                                  Equipment lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 6 of 11
         Case 24-15150-VFP                       Doc 78          Filed 06/24/24 Entered 06/24/24 15:21:49                            Desc Main
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Debtor      703 Bakery Corp.                                                                      Case number (if known)    24-15150 (VFP)
            Name

      6/21/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1485
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
6     m2 Equipment                                Describe debtor's property that is subject to a lien                     Unknown           Unknown
      Creditor's Name                             Walk-in refrigerator; freezer per Direct
      175 N. Patrick Blvd., Ste.                  Kitchen Equipment Inv. 9369 6/27/2022
      140
      Brookfield, WI 53045
      Creditor's mailing address                  Describe the lien
                                                  Equipment lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/1/2022                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6381
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
7     Nebenzahl, Samuel                           Describe debtor's property that is subject to a lien                     Unknown           Unknown
      Creditor's Name
      370 Lexington Avenue, Ste.
      201
      New York, NY 10017
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien on Debtor's Assets
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      11/05/2019                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1263
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.1
8     NYM Services LLC                            Describe debtor's property that is subject to a lien                     Unknown           Unknown


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 7 of 11
         Case 24-15150-VFP                       Doc 78          Filed 06/24/24 Entered 06/24/24 15:21:49                            Desc Main
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Debtor      703 Bakery Corp.                                                                      Case number (if known)    24-15150 (VFP)
            Name

      Creditor's Name                             Clover Station and Kitchen Printer
      dba Fidelity Payment
      Services
      Attn: Legal Depaartment
      141 Flushing Avenue, Ste.
      501
      Brooklyn, NY 11205
      Creditor's mailing address                  Describe the lien
                                                  Equipment Rental Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      4/10/2024                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0189
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Pawnee Leasing
9     Corporation                                 Describe debtor's property that is subject to a lien                     Unknown           Unknown
      Creditor's Name                             Oven
      3801 Automaation Way,
      Ste. 207
      Fort Collins, CO 80525
      Creditor's mailing address                  Describe the lien
                                                  Equipment lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   Regents Capital
0     Corporation                                 Describe debtor's property that is subject to a lien                     Unknown           Unknown
      Creditor's Name                             2 Wiesheu Dibas bread oven; 1 pot/pan
                                                  washer
      3200 Bristol Street, Ste. 400
      Costa Mesa, CA 92626
      Creditor's mailing address                  Describe the lien
                                                  Equipment lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred

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Debtor      703 Bakery Corp.                                                                      Case number (if known)      24-15150 (VFP)
            Name

                                                     No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5434
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2   Secured Lender Solutions,
1     LLC                                         Describe debtor's property that is subject to a lien                       Unknown           Unknown
      Creditor's Name                             1 Thermalite walk-in refrigerator 131 x 13
                                                  1 Thermalite walk-in freezer 21 x 130
      PO Box 2576
      Springfield, IL 62708
      Creditor's mailing address                  Describe the lien
                                                  Equipment Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/10/2023                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1941
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.2
2     Square Financial Services                   Describe debtor's property that is subject to a lien                     $148,233.00         Unknown
      Creditor's Name                             Square Account
      3165 E. Millrock Drive, Ste.
      160
      Salt Lake City, UT 84121
      Creditor's mailing address                  Describe the lien
                                                  Loan Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      1/11/2024                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      xB9H
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
3     Targeted Lending                            Describe debtor's property that is subject to a lien                       Unknown           Unknown

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 9 of 11
          Case 24-15150-VFP                       Doc 78          Filed 06/24/24 Entered 06/24/24 15:21:49                                 Desc Main
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Debtor       703 Bakery Corp.                                                                      Case number (if known)      24-15150 (VFP)
             Name

       Creditor's Name                             Kitchen equipment
       5500 Main Street, Ste. 300
       Williamsville, NY 14221
       Creditor's mailing address                  Describe the lien
                                                   Equipment leases - $82,510.06
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       6/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.2    U.S. Small Business
4      Administration                              Describe debtor's property that is subject to a lien                     $135,000.00              Unknown
       Creditor's Name                             Blanket lien
       2 North Street, Ste. 320
       Birmingham, AL 35203
       Creditor's mailing address                  Describe the lien
                                                   UCC-1 Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       9/2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $323,233.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Moishie M. Klein, Esq.
        40 Airport Road                                                                                      Line   2.17
        Lakewood, NJ 08701




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 10 of 11
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Debtor    703 Bakery Corp.                                                 Case number (if known)   24-15150 (VFP)
          Name

      Natalia Batista Vazquez, Esq.
      U.S. Small Business Administration                                           Line   2.24
      New Jersey District Office
      Two Gateway Center, Ste. 1002
      Newark, NJ 07102




Official Form 206D      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                 page 11 of 11
           Case 24-15150-VFP                        Doc 78     Filed 06/24/24 Entered 06/24/24 15:21:49                                        Desc Main
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Fill in this information to identify the case:

Debtor name        703 Bakery Corp.

United States Bankruptcy Court for the:         DISTRICT OF NEW JERSEY

Case number (if known)           24-15150 (VFP)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Internal Revenue Service                            Check all that apply.
          PO Box 7346                                            Contingent
          Philadelphia, PA 19101-7346                            Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              For Notice Purposes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          New Jersey Dept. of Labor                           Check all that apply.
          Division of Employer Accounts                          Contingent
          1 John Fitch Plaza                                     Unliquidated
          PO Box 389                                             Disputed
          Trenton, NJ 08611-0389
          Date or dates debt was incurred                     Basis for the claim:
                                                              For Notice Purposes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 16
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          Case 24-15150-VFP                         Doc 78      Filed 06/24/24 Entered 06/24/24 15:21:49                                         Desc Main
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Debtor       703 Bakery Corp.                                                                           Case number (if known)     24-15150 (VFP)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          New Jersey Division of Taxation                      Check all that apply.
          Compliance/Enforcement -                                Contingent
          Bankruptcy Unit                                         Unliquidated
          3 John Fitch Way, 5th Fl.                               Disputed
          Trenton, NJ 08695-0245
          Date or dates debt was incurred                      Basis for the claim:
                                                               For Notice Purposes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          New York State Dept of Tax &                         Check all that apply.
          Finance                                                 Contingent
          Bankruptcy Section                                      Unliquidated
          PO Box 5300                                             Disputed
          Albany, NY 12205-0300
          Date or dates debt was incurred                      Basis for the claim:
                                                               For Notice Purposes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          NY City Dept. of Finance                             Check all that apply.
          Office of Legal Affairs                                 Contingent
          375 Pearl Street, 30th Fl.                              Unliquidated
          New York, NY 10038                                      Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               For Notice Purposes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.6       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          NYS Department of Labor                              Check all that apply.
          Building 12                                             Contingent
          w.A. Harriman Campus                                    Unliquidated
          Albany, NY 12226                                        Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               For Notice Purposes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 16
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Debtor      703 Bakery Corp.                                                                Case number (if known)            24-15150 (VFP)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $18,000.00
         266 Kingston Ave. Realty LLC                                 Contingent
         8210 Baxter Avenue                                           Unliquidated
         Elmhurst, NY 11373                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $48,319.25
         3611 Joint Venture LLC                                       Contingent
         PO Box 180240                                                Unliquidated
         Brooklyn, NY 11218                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $421,000.00
         750 8th Avenue LLC                                           Contingent
         c/o Eric H. Kahan, Esq.
                                                                      Unliquidated
         SKH Heiberger LLP
         228 East 45th Street, 14th Fl.                               Disputed
         New York, NY 10017                                        Basis for the claim: Rent for premises located at:
         Date(s) debt was incurred                                 750 Eighth Avenue
         Last 4 digits of account number                           New York, NY 10036
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $30,000.00
         88 Global Partners LLC                                       Contingent
         125-10 Queens Blvd., Ste. 222                                Unliquidated
         Kew Gardens, NY 11415                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $18,000.00
         9 Crosby, LLC                                                Contingent
         261 Madison Ave., 17th Fl.                                   Unliquidated
         New York, NY 10016                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         99 LD Truck Lease                                            Contingent
         99 Washington Avenue
                                                                      Unliquidated
         Suffern, NY 10901
                                                                      Disputed
         Date(s) debt was incurred 12/15/2022
                                                                   Basis for the claim: Vehicle Lease Agreements for two (2) 2020 Ford
         Last 4 digits of account number
                                                                   Transit 350 XL
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $214.32
         A New Age Auto Glass                                         Contingent
         Attn: Nancy Candelaria                                       Unliquidated
         PO Box 1081                                                  Disputed
         Bloomfield, NJ 07003
                                                                   Basis for the claim: Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      703 Bakery Corp.                                                                Case number (if known)            24-15150 (VFP)
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3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $18,329.00
         A-1 Bakery Supply Inc.                                       Contingent
         35 Taylor Drive                                              Unliquidated
         Wayne, NJ 07470                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $539,641.00
         ABG 2021 CLAT                                                Contingent
         2416 Avenue J                                                Unliquidated
         Brooklyn, NY 11210                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: CLAT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,240.00
         Air Stream Air Conditioning Corporation                      Contingent
         400 Crossways Park Drive                                     Unliquidated
         Woodbury, NY 11797                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $130,851.00
         American Food Connection                                     Contingent
         46 Russell Street                                            Unliquidated
         Roslyn Heights, NY 11577                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $30,000.00
         Artprop Perty LLC (Arthouse)                                 Contingent
         2178 Broadway at W. 77th St.                                 Unliquidated
         New York, NY 10024                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,000.00
         Avenue M Midwood Realty LLC                                  Contingent
         1716 Avenue M                                                Unliquidated
         Brooklyn, NY 11230                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,490.00
         B.P. Electric Corp.                                          Contingent
         1425 37th Street                                             Unliquidated
         Brooklyn, NY 11218                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,110.77
         Bakemark/Valente                                             Contingent
         N92 W14401 Anthony Avenue                                    Unliquidated
         Menomonee Falls, WI 53051                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,323.25
         Banner Smoked Fish Inc.                                      Contingent
         2715 W. 15th Street                                          Unliquidated
         Brooklyn, NY 11224                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,800.00
         BH Eggs                                                      Contingent
         110 Park Lane                                                Unliquidated
         Monsey, NY 10952                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $110,768.23
         Bowery Farming Inc.                                          Contingent
         151 W. 26th Street, 12th Fl.                                 Unliquidated
         New York, NY 10001                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,000.00
         Chabad Shul of the West Side Inc. (The)                      Contingent
         166 W. 97th Street                                           Unliquidated
         New York, NY 10025                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Cheshin, Eli                                                 Contingent
         704 Cedar Lawn Avenue
                                                                      Unliquidated
         Far Rockaway, NY 11691
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $38,328.38
         Chosen Bean and Beveraage, LLC (The)                         Contingent
         2955 NW 27th Street                                          Unliquidated
         Bldg. 12                                                     Disputed
         Fort Lauderdale, FL 33311
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,709.93
         Cintas Corp.                                                 Contingent
         PO Box 630803                                                Unliquidated
         Cincinnati, OH 45263-0803                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,000.00
         Cogent Waste Solutions, LLC                                  Contingent
         5835 47th Street                                             Unliquidated
         Maspeth, NY 11378                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $65,000.00
         ConEdison                                                    Contingent
         PO Box 1701                                                  Unliquidated
         New York, NY 10116-1701                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $50,000.00
         Correlative Smart Engineering                                Contingent
         8225 5th Avenue, #353                                        Unliquidated
         Brooklyn, NY 11209                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $77,000.00
         Dairyland The Chefs' Warehouse                               Contingent
         240 Food Centr Drive                                         Unliquidated
         Bronx, NY 10474                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $62,607.77
         David Rosen Bakery Supply Co.                                Contingent
         59-21 Queens Midtown Expressway                              Unliquidated
         Maspeth, NY 11378                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Degale, Elaine Joy                                           Contingent
         12-30 31 Drive, #1A
                                                                      Unliquidated
         Astoria, NY 11106
                                                                      Disputed
         Date(s) debt was incurred 2/2023
         Last 4 digits of account number 2626                      Basis for the claim: EEOC employment discrimination claim

                                                                   Is the claim subject to offset?     No       Yes




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3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $289,657.29
         Dependable Food                                              Contingent
         25 Executive Avenue                                          Unliquidated
         Edison, NJ 08817                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,000.00
         Deutsch, Herschel, CPA                                       Contingent
         1440 46th Street                                             Unliquidated
         Brooklyn, NY 11219                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,457.37
         Devash Farms                                                 Contingent
         PO Box 846                                                   Unliquidated
         Whitehouse Station, NJ 08889                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,658.01
         Domestic Linen Supply Company                                Contingent
         30555 Northwestern ighway, Ste. 300                          Unliquidated
         Farmington Hills, MI 48334                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,500.00
         Domestic Uniform Rental                                      Contingent
         PO Box 38                                                    Unliquidated
         Belleville, NJ 07109                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $713.29
         E-Z Edge Incorporated                                        Contingent
         6119 Adams Street                                            Unliquidated
         West New York, NJ 07093                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $20,000.00
         Ecolab                                                       Contingent
         1 Ecolab Placed                                              Unliquidated
         Saint Paul, MN 55102                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,062.00
         EPA Co.                                                      Contingent
         2970 West 27th St., Apt. 709                                 Unliquidated
         Brooklyn, NY 11224                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,400.12
         Epic Fish Co.                                                Contingent
         1860 Utica Avenue                                            Unliquidated
         Brooklyn, NY 11234                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $17,290.93
         EZPass                                                       Contingent
         375 McCarter Highway                                         Unliquidated
         Newark, NJ 07114                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $114,817.44
         Frank M. Gargiulo and Son, Inc.                              Contingent
         535 Sweetland Avenue                                         Unliquidated
         Hillside, NJ 07205                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,015.00
         Fresh Checked Dist.                                          Contingent
         5510 16 Avenue, 3rd Fl.                                      Unliquidated
         Brooklyn, NY 11204                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $18,000.00
         Friedman, Goldie                                             Contingent
         320 Empire Blvd.
                                                                      Unliquidated
         Apt. 2L
         Brooklyn, NY 11225                                           Disputed

         Date(s) debt was incurred                                 Basis for the claim: Investor

         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $47,543.35
         G&P Gourmet                                                  Contingent
         PO Box 340978                                                Unliquidated
         Brooklyn, NY 11234                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $29,500.00
         Gashi, Arlind                                                Contingent
         1057 Swinton Avenue
                                                                      Unliquidated
         Bronx, NY 10465
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Gestener, Abe                                                Contingent
         441 Brenwood Avenue
                                                                      Unliquidated
         Toms River, NJ 08755
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Gold, Avi/Data Points Enterprise LLC                         Contingent
         7129 Via Firenza
                                                                      Unliquidated
         Boca Raton, FL 33433
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Gorjian, Joel                                                Contingent
         12 Wesey Court
                                                                      Unliquidated
         Great Neck, NY 11024
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Halpert, Kate and Phil                                       Contingent
         734 Hillcrest Place
                                                                      Unliquidated
         Valley Stream, NY 11581
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Hammerman, Jacob                                             Contingent
         32 Wilder Road
                                                                      Unliquidated
         Monsey, NY 10952
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         HMAUU LLC                                                    Contingent
         1091 Fordham Lane
                                                                      Unliquidated
         Woodmere, NY 11598
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $30,000.00
         Imperial Dade                                                Contingent
         255 US-1 & 9                                                 Unliquidated
         Jersey City, NJ 07306                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,480.00
         Interstate Waste Services, Inc.                              Contingent
         300 Frank W. Burr Blvd., Ste. 39                             Unliquidated
         Teaneck, NJ 07666                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,372.50
         Kayco B&W Foods                                              Contingent
         75 New Hook Road                                             Unliquidated
         PO Box 82                                                    Disputed
         Bayonne, NJ 07002
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,000.00
         Lakewood Plaza DE LLC                                        Contingent
         PO Box 580                                                   Unliquidated
         Lakewood, NJ 08701                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,000.00
         Levine, Josh                                                 Contingent
         Levine and Associates                                        Unliquidated
         135 Rockaway Turnpike, Ste. 111                              Disputed
         Lawrence, NY 11559
                                                                   Basis for the claim: Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $54,378.37
         Limitless Packaging LLC                                      Contingent
         2361 Nostrand Avenue, Ste. 402                               Unliquidated
         Brooklyn, NY 11210                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,515.71
         Marmorstein, A., Rabbi                                       Contingent
         276 Riverside Drive                                          Unliquidated
         New York, NY 10025                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $90,910.00
         McDonald Paper & Restaurant Supplies                         Contingent
         999 3rd Avenue                                               Unliquidated
         Brooklyn, NY 11232                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $91,710.74
         Mehadrin Dairy                                               Contingent
         100 Trumbull St.                                             Unliquidated
         Elizabeth, NJ 07206                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Mokhtar, Ben                                                 Contingent
         89-61 164th Street
                                                                      Unliquidated
         Jamaica, NY 11432
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,277.80
         Mr. Line Distributor Inc.                                    Contingent
         3-06 Dorothy Street                                          Unliquidated
         Fair Lawn, NJ 07410                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         NASC LLC                                                     Contingent
         431-441B Cedar Lane
                                                                      Unliquidated
         Teaneck, NJ 07666
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent for Teaneck location
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Nebenzahl, Samuel                                            Contingent
         22 Esty Circle
                                                                      Unliquidated
         Lakewood, NJ 08701
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Nishmat LLC                                                  Contingent
         1824 E. 22 St.
                                                                      Unliquidated
         Brooklyn, NY 11229
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $30,000.00
         Normaze Associates, Inc.                                     Contingent
         17 Lawrence Way                                              Unliquidated
         Cedar Grove, NJ 07009                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $42,000.00
         NRCF 2GC LLC                                                 Contingent
         140 E. 45th Street                                           Unliquidated
         New York, NY 10017                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,100.00
         NYC Electricians                                             Contingent
         50 Saint Marks Placed                                        Unliquidated
         New York, NY 10003                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,000.00
         Odeko                                                        Contingent
         125 State Street                                             Unliquidated
         Moonachie, NJ 07074                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $800,000.00
         Order Co.                                                    Contingent
         156 Fifth Avenue, 7th Fl.                                    Unliquidated
         New York, NY 10010                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $28,827.00
         Orthodox Union                                               Contingent
         40 Rector Street, 4th Fl.                                    Unliquidated
         New York, NY 10006                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $85,225.96
         Paradise Distributors, LLC                                   Contingent
         3592 Bedford Avenue                                          Unliquidated
         Brooklyn, NY 11210                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $100,000.00
         Pawn Funding                                                 Contingent
         2167 E. 21st Street, Ste. 252                                Unliquidated
         Brooklyn, NY 11229                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $26,358.00
         PSE&G                                                        Contingent
         Attn: Alexandra Grant, Esq.                                  Unliquidated
         80 Park Plaza                                                Disputed
         Newark, NJ 07102
                                                                   Basis for the claim: Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Rabanipur, Daniel                                            Contingent
         25 Newbridge Road, Ste. 405
                                                                      Unliquidated
         Hicksville, NY 11801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Rabinovici, David                                            Contingent
         1091 Fordham Lane
                                                                      Unliquidated
         Woodmere, NY 11598
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,470.50
         Raskin's Fish Market Inc.                                    Contingent
         320 Kingston Ave.                                            Unliquidated
         Brooklyn, NY 11213                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $23,051.00
         RE&RU Corp.                                                  Contingent
         1015 St. Johns Place                                         Unliquidated
         Apt. A3                                                      Disputed
         Brooklyn, NY 11213
                                                                   Basis for the claim:
         Date(s) debt was incurred April 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $37,643.55
         Redway Group Inc.                                            Contingent
         17020 Five Waters Ave.                                       Unliquidated
         Boca Raton, FL 33496                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $148,036.70
         Ridgefield Kosher Bakery                                     Contingent
         501 Broad Avenue                                             Unliquidated
         Ridgefield, NJ 07657                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,000.00
         Rossman Farms                                                Contingent
         770 3rd Avenue                                               Unliquidated
         Brooklyn, NY 11232                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $24,000.00
         S. OH Group, LLC (The)                                       Contingent
         1055 river Road, #1010                                       Unliquidated
         Edgewater, NJ 07020                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,317.00
         Sani-Lab Corporation                                         Contingent
         43 Westminster Way                                           Unliquidated
         Pomona, NY 10970                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $19,000.00
         Shkolnik, Yudi                                               Contingent
         1606 Caffrey Avenue
                                                                      Unliquidated
         Far Rockaway, NY 11691
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Investor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $60,000.00
         Silver Lake                                                  Contingent
         37-09 Main Street, Ste. 3B                                   Unliquidated
         Flushing, NY 11354                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,000.00
         Sinayskaya Yuniver PC                                        Contingent
         710 Avenue U                                                 Unliquidated
         Brooklyn, NY 11223                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.85      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Soleimani, Isaac                                                     Contingent
          10 Cuttermill Road, Ste. 302
                                                                               Unliquidated
          Great Neck, NY 11021
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Investor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.86      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,389.86
          Uline                                                                Contingent
          Attn: Accounts Receivable                                            Unliquidated
          PO Box 88741                                                         Disputed
          Chicago, IL 60680-1741
                                                                           Basis for the claim: Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes


3.87      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $10,000.00
          Vida Remote                                                          Contingent
          101 Marketside Avenue, Ste. 404-344                                  Unliquidated
          Ponte Vedra, FL 32081                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Bookkeeping services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.88      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $600.00
          Wilder Fields                                                        Contingent
          1717 E. West Road                                                    Unliquidated
          Calumet City, IL 60409                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.89      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,800.00
          Woolco Foods Inc.                                                    Contingent
          135 Amity Street                                                     Unliquidated
          Jersey City, NJ 07304                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       New Jersey Attorney General's Office
          Div. of Law; RJ Hughes Justice Complex                                                    Line     2.2
          25 Market Street
                                                                                                           Not listed. Explain
          PO Box 112
          Trenton, NJ 08625-0112

4.2       New Jersey Attorney General's Office
          Div. of Law; RJ Hughes Justice Complex                                                    Line     2.3
          25 Market Street
                                                                                                           Not listed. Explain
          PO Box 112
          Trenton, NJ 08625-0112


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          Name and mailing address                                                     On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                       related creditor (if any) listed?            account number, if
                                                                                                                                    any
4.3       New York State Dept. Tax & Finance
          Bankruptcy Unit - tCD                                                        Line     2.4
          Bldg. 8, Rm. 455
                                                                                              Not listed. Explain
          W.A. Harriman State Campus
          Albany, NY 12227

4.4       Office of the NYS Attorney General
          The Capitol                                                                  Line     2.4
          Albany, NY 12224-0341
                                                                                              Not listed. Explain

4.5       United States Attorney
          Peter Rodino Federal Building                                                Line     2.1
          970 Broad Street, Ste. 700
                                                                                              Not listed. Explain
          Newark, NJ 07102

4.6       United States Attorney General
          United States Department of Justice                                          Line     2.1
          Ben Franklin Station
                                                                                              Not listed. Explain
          PO Box 683
          Washington, DC 20044


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                          Total of claim amounts
5a. Total claims from Part 1                                                              5a.         $                          0.00
5b. Total claims from Part 2                                                              5b.    +    $                  4,124,812.39

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.         $                    4,124,812.39




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 16 of 16
         Case 24-15150-VFP                   Doc 78       Filed 06/24/24 Entered 06/24/24 15:21:49                                  Desc Main
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Fill in this information to identify the case:

Debtor name       703 Bakery Corp.

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)     24-15150 (VFP)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease for premises
           lease is for and the nature of        located at:
           the debtor's interest                 266 Kingston Avenue,
                                                 Brooklyn, NY 11213
                                                 $7,000/mo.
               State the term remaining          2 yrs
                                                                                    286 Kingston Ave. Realty LLC
           List the contract number of any                                          266 Kingston Avenue
                 government contract                                                Brooklyn, NY 11213


2.2.       State what the contract or            Lease for premises
           lease is for and the nature of        located at:
           the debtor's interest                 3611 14th Avenue,
                                                 Brooklyn, NY 11218
                                                 $7,000/mo.
               State the term remaining          3 yrs
                                                                                    3611 Joint Venture LLC
           List the contract number of any                                          PO Box 180240
                 government contract                                                Brooklyn, NY 11218


2.3.       State what the contract or            Lease for premises
           lease is for and the nature of        located at:
           the debtor's interest                 750 8th Avenue
                                                 New York, NY 10036
                                                 $62,000/mo.                        750 8th Avenue LLC
               State the term remaining          6 yrs.                             c/oTorkin Group
                                                                                    1650 Broadway, Ste. 910
           List the contract number of any                                          228 East 45th Street, 14th Fl.
                 government contract                                                New York, NY 10019




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 4
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Debtor 1 703 Bakery Corp.                                                        Case number (if known)   24-15150 (VFP)
          First Name         Middle Name            Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.4.      State what the contract or         Master Commercial
          lease is for and the nature of     Vehicle Lease
          the debtor's interest              Agreement dated
                                             12/15/2022 for:
                                             2020 Ford Transit 350
                                             XL VIN
                                             1FTBW3X85LKB69931
                                             $1,889/mo.
             State the term remaining        Approx. 43 mos.
                                                                         99 LD Truck Lease
          List the contract number of any                                99 Washington Avenue
                government contract                                      Suffern, NY 10901


2.5.      State what the contract or         Master Commercial
          lease is for and the nature of     Vehicle Lease
          the debtor's interest              Agreement dated
                                             12/15/2022 for:
                                             2020 Ford Transit 350
                                             XL VIN
                                             1FTBW3X87LKB69929
                                             $1,889/mo.
             State the term remaining        Approx. 43 mos.
                                                                         99 LD Truck Lease
          List the contract number of any                                99 Washington Avenue
                government contract                                      Suffern, NY 10901


2.6.      State what the contract or         Lease for premises
          lease is for and the nature of     located at:
          the debtor's interest              2178 Broadway, New
                                             York, NY 10024
                                             $15,000/mo.
             State the term remaining        Month-to-Month
                                                                         Arthouse Hotel
          List the contract number of any                                2178 Broadway
                government contract                                      New York, NY 10024


2.7.      State what the contract or         Lease for premises
          lease is for and the nature of     located at:
          the debtor's interest              44 West 37th Street,
                                             New York, NY 10018
                                             $17,000/mo.
             State the term remaining        Month-to-Month
                                                                         Azul NYC LLC
          List the contract number of any                                1370 Broadway, Ste. 613
                government contract                                      New York, NY 10018




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 4
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Debtor 1 703 Bakery Corp.                                                        Case number (if known)   24-15150 (VFP)
          First Name         Middle Name            Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.8.      State what the contract or         Lease for premises
          lease is for and the nature of     locaated at:
          the debtor's interest              676 Amsterdam
                                             Avenue, New York, NY
                                             10025
                                             $10,000/mo.
             State the term remaining        5 yrs
                                                                        E.O.M. Realty Corp.
          List the contract number of any                               676 Amsterdam Avenue
                government contract                                     New York, NY 10025


2.9.      State what the contract or         Lease for premises
          lease is for and the nature of     located at:
          the debtor's interest              295 Burnside Avenue,
                                             Lawrence, NY 11559
                                             $4,000/mo.
             State the term remaining        Month-to-Month
                                                                        Flavored Frozen Yogurt LLC
          List the contract number of any                               704 Cedar Lawn Avenue
                government contract                                     Lawrence, NY 11691


2.10.     State what the contract or         Lease for premises
          lease is for and the nature of     located at:
          the debtor's interest              1700 Madison Avenue,
                                             Lakewood, NJ 08701
                                             $14,000/mo.                Lakewood Madison Plaza LP/
             State the term remaining        6 yrs                      Lakewood Madison Plaza DE 2 LLC
                                                                        c/o AJH Managemenet
          List the contract number of any                               PO Box 580
                government contract                                     Lakewood, NJ 08701


2.11.     State what the contract or         Lease for premises
          lease is for and the nature of     located at:
          the debtor's interest              1716 Avenue M,
                                             Brooklyn, NY 11230
                                             $9,000/mo.
             State the term remaining        5 yrs
                                                                        Midwood Realty LLC
          List the contract number of any                               187 Avenue U
                government contract                                     Brooklyn, NY 11223


2.12.     State what the contract or         Lease for premises
          lease is for and the nature of     located at:
          the debtor's interest              439 Cedar Lane,
                                             Teaneck, NJ 07666
                                             $5,500/mo.
             State the term remaining        Month-to-Month
                                                                        NASC LLC
          List the contract number of any                               431-441B Cedar Lane
                government contract                                     Teaneck, NJ 07666


Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 3 of 4
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Debtor 1 703 Bakery Corp.                                                        Case number (if known)   24-15150 (VFP)
          First Name         Middle Name            Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.13.     State what the contract or         Lease for premises
          lease is for and the nature of     located at:
          the debtor's interest              323 Ridge Road,
                                             Lynchurst, NJ 07071
                                             $8,000/mo.
             State the term remaining        3 yrs
                                                                        Normaze Associates Inc.
          List the contract number of any                               17 Lawrence Way
                government contract                                     Cedar Grove, NJ 07009




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 4 of 4
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Fill in this information to identify the case:

Debtor name      703 Bakery Corp.

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY

Case number (if known)   24-15150 (VFP)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Azizov, Oleg                1773 E. 29th Street                                       Targeted Lending                   D   2.23
                                      Brooklyn, NY 11229                                                                           E/F
                                                                                                                                   G




   2.2    Azizov, Oleg                1773 E. 29th Street                                       Citizens Capital                   D   2.4
                                      Brooklyn, NY 11229                                                                           E/F
                                                                                                                                   G




   2.3    Azizov, Oleg                1773 E. 29th Street                                       m2 Equipment                       D   2.16
                                      Brooklyn, NY 11229                                                                           E/F
                                                                                                                                   G




   2.4    Azizov, Oleg                1773 E. 29th Street                                       Citizens Capital                   D   2.5
                                      Brooklyn, NY 11229                                                                           E/F
                                                                                                                                   G




   2.5    Azizov, Oleg                1773 E. 29th Street                                       Centra Funding                     D   2.3
                                      Brooklyn, NY 11229                                                                           E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    703 Bakery Corp.                                                        Case number (if known)   24-15150 (VFP)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Azizov, Oleg             1773 E. 29th Street                                 Pawnee Leasing                     D   2.19
                                   Brooklyn, NY 11229                                  Corporation                        E/F
                                                                                                                          G




  2.7     Azizov, Oleg             1773 E. 29th Street                                 Commercial Funding                 D   2.6
                                   Brooklyn, NY 11229                                  Partners, LLC                      E/F
                                                                                                                          G




  2.8     Azizov, Oleg             1773 E. 29th Street                                 Regents Capital                    D   2.20
                                   Brooklyn, NY 11229                                  Corporation                        E/F
                                                                                                                          G




  2.9     Azizov, Oleg             1773 E. 29th Street                                 First Citizens Bank &              D   2.10
                                   Brooklyn, NY 11229                                  Trust                              E/F
                                                                                                                          G




  2.10    Azizov, Oleg             1773 E. 29th Street                                 U.S. Small Business                D   2.24
                                   Brooklyn, NY 11229                                  Administration                     E/F
                                                                                                                          G




  2.11    Azizov, Oleg             1773 E. 29th Street                                 Square Financial                   D   2.22
                                   Brooklyn, NY 11229                                  Services                           E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name         703 Bakery Corp.

United States Bankruptcy Court for the:    DISTRICT OF NEW JERSEY

Case number (if known)    24-15150 (VFP)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $5,557,000.00
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                           $15,735,000.00
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                             $9,500,550.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       703 Bakery Corp.                                                                   Case number (if known) 24-15150 (VFP)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             See attached Schedule                                                             $15,882,776.00                 Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Azizov, Oleg                                          07/07/2023 -                    $162,914.60
                                                                   04/08/2024

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                       Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                     Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address
      7.1.   750 8th Avenue LLC v. 703                 Landlord/Tenant             New York Civil Court - L&T                         Pending
             Bakery Corp. d/b/a Patis                                                                                                 On appeal
             Index No. LT-305567-24/NY
                                                                                                                                      Concluded

      7.2.   U.S. Equal Employment                     Employment                                                                     Pending
             Opportunity Commission -                  Discrimination                                                                 On appeal
             Claim of Elaine Joy Degale
                                                                                                                                      Concluded
             520-2023-02626



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 2
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Debtor       703 Bakery Corp.                                                                    Case number (if known) 24-15150 (VFP)



             Case title                               Nature of case               Court or agency's name and                 Status of case
             Case number                                                           address
      7.3.   NRCF 2GC LLC v. 703 Bakery               Landlord/Tenant              Civil Court of the City of                    Pending
             Corp.                                                                 NY, NY County                                 On appeal
                                                                                                                                 Concluded

      7.4.   Bowery Farming, Inc. v. 703              Landlord/Tenant                                                            Pending
             Bakery Corp.                                                                                                        On appeal
                                                                                                                                 Concluded

      7.5.   Kenover Maraket Corp. d/b/a              Goods/Services               Supreme Court of NY,                          Pending
             Kayco v. 703 Bakery Corp., et            Performed                    Kings County                                  On appeal
             al.
                                                                                                                                 Concluded

      7.6.   David Rosen Bakery Supplies              Contract                     Queens County Supreme                         Pending
             Inc. dba David Rosen                                                  Ct., Civil, NY                                On appeal
             Company v. 703 Bakery dba
                                                                                                                                 Concluded
             Patais Bakery


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address             Description of the gifts or contributions                 Dates given                             Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss                Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address

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Debtor        703 Bakery Corp.                                                                   Case number (if known) 24-15150 (VFP)



                Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                         value
                Address
      11.1.     McManimon, Scotland &
                Baumann, LLC
                75 Livingston Avenue
                Second Floor
                Roseland, NJ 07068                        Attorney Fees                                                 5/20/2024                $32,000.00

                Email or website address


                Who made the payment, if not debtor?
                Avi Gold/Data Points Enterprise LLC



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers               Total amount or
                                                                                                               were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange                was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services                 If debtor provides meals
                                                       the debtor provides                                                          and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:       Personally Identifiable Information




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Debtor      703 Bakery Corp.                                                                     Case number (if known) 24-15150 (VFP)



16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.
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Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Herschel Deutsch CPA
                    1440 46th Street
                    Brooklyn, NY 11219

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Joshua Levine, CPA
                    135 Rockaway Turnpike, Ste. 111
                    Lawrence, NY 11559

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
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Debtor      703 Bakery Corp.                                                                    Case number (if known) 24-15150 (VFP)



      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Herschel Deutsch, CPA
                    1440 46th Street
                    Brooklyn, NY 11219

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Azizov, Oleg                            1773 E. 29th Street                                 President                                 99.75
                                              Brooklyn, NY 11229



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

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Debtor      703 Bakery Corp.                                                                    Case number (if known) 24-15150 (VFP)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 24, 2024

/s/ Oleg Azizov                                                 Oleg Azizov
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
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                                        STATEMENT OF FINANCIAL AFFAIRS - No. 3.1


                                     SOFA Part 2 3. 90 day transfers to creditors
                                                          February 21 - May 21, 2024

              Transaction
   Date          Type          Num    Name                                                     Split                     Clr   Account    Credit

03/05/2024   Expense                  Commercial Funding Partner             Short-term business loans               R             4694     3,496.40

04/01/2024   Expense                  Commercial Funding Partner             Short-term business loans               R             4694     6,629.07

04/05/2024   Expense                  Commercial Funding Partner             Short-term business loans               R             4694     3,737.53

03/01/2024   Expense                  Commercial Funding Partner             Short-term business loans               R             4694     6,629.07

                                      Commercial Funding Partner Total                                                                     20,492.07

03/04/2024   Expense                  Square Inc                             Office expenses:Merchant account fees   R             4694      425.00

03/04/2024   Expense                  Square Inc                             Office expenses:Merchant account fees   R             4694       10.00

03/04/2024   Expense                  Square Inc                             Office expenses:Merchant account fees   R             4694     1,720.00

04/03/2024   Expense                  Square Inc                             Office expenses:Merchant account fees   R             4694      675.00

04/03/2024   Expense                  Square Inc                             Office expenses:Merchant account fees   R             4694     1,720.00

04/03/2024   Expense                  Square Inc                             Office expenses:Merchant account fees   R             4694       10.00

04/09/2024   Expense                  Square Inc                             Office expenses:Merchant account fees   R             4694      675.00

05/03/2024   Expense                  Square Inc                             Office expenses:Merchant account fees   C             4694     1,720.00

05/03/2024   Expense                  Square Inc                             Office expenses:Merchant account fees   C             4694      675.00

05/03/2024   Expense                  Square Inc                             Office expenses:Merchant account fees   C             4694       10.00

                                      Square Inc Total                                                                                      7,640.00

05/07/2024   Expense        2090      Yidi Scholnick                         Payroll expenses:Salaries & wages       C             4694     2,125.17

02/21/2024   Check          VV1876    Yidi Scholnick                         Payroll expenses:Salaries & wages       R             4694     2,125.17

02/28/2024   Check          VV1900    Yidi Scholnick                         Payroll expenses:Salaries & wages       R             4694     2,125.17




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              Transaction
   Date          Type          Num   Name                                                        Split                 Clr   Account    Credit

03/06/2024   Check          VV1926   Yidi Scholnick                            Payroll expenses:Salaries & wages   R             4694     2,125.17

03/13/2024   Check          VV1952   Yidi Scholnick                            Payroll expenses:Salaries & wages   R             4694     2,125.17

03/20/2024   Check          VV1975   Yidi Scholnick                            Payroll expenses:Salaries & wages   R             4694     2,125.17

03/27/2024   Check          VV2014   Yidi Scholnick                            Payroll expenses:Salaries & wages   R             4694     2,125.17

04/03/2024   Check          VV2039   Yidi Scholnick                            Payroll expenses:Salaries & wages   R             4694     2,125.17

04/17/2024   Check          VV2090   Yidi Scholnick                            Payroll expenses:Salaries & wages   C             4694     2,125.17

04/19/2024   Check          VV2118   Yidi Scholnick                            Payroll expenses:Salaries & wages   C             4694     2,125.17

05/01/2024   Check          VV2143   Yidi Scholnick                            Payroll expenses:Salaries & wages   C             4694     2,125.17

                                     Yidi Scholnick Total                                                                                23,376.87

03/06/2024   Expense                 266 Kingston Ave Realty                   Rent:Rent - Crown Heights           R             8990     3,500.00

03/13/2024   Expense                 266 Kingston Ave Realty                   Rent:Rent - Crown Heights           R             8990     3,000.00

03/22/2024   Expense                 266 Kingston Ave Realty                   Rent:Rent - Crown Heights           R             8990     1,000.00

04/05/2024   Expense                 266 Kingston Ave Realty                   Rent:Rent - Crown Heights           R             8990     3,000.00

05/13/2024   Expense                 266 Kingston Ave Realty                   Rent:Rent - Crown Heights           C             8990     7,000.00

                                     266 Kingston Ave Realty Total                                                                       17,500.00

03/13/2024   Expense                 3611 Joint Venture LLC                    Rent:Rent - Brooklyn Square         R             8990     2,000.00

03/22/2024   Expense                 3611 Joint Venture LLC                    Rent:Rent - Brooklyn Square         R             8990     2,000.00

03/29/2024   Expense                 3611 Joint Venture LLC                    Rent:Rent - Brooklyn Square         R             8990     2,000.00

04/08/2024   Expense                 3611 Joint Venture LLC                    Rent:Rent - Brooklyn Square         R             8990     2,000.00

05/03/2024   Expense                 3611 Joint Venture LLC                    Rent:Rent - Brooklyn Square         C             8990     6,000.00

                                     3611 Joint Venture LLC Total                                                                        14,000.00

03/13/2024   Expense                 750 8th Avenue                            Rent:Rent - Time Square             R             8990    15,000.00




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              Transaction
   Date          Type       Num   Name                                                        Split                 Clr   Account    Credit

03/22/2024   Expense              750 8th Avenue                           Rent:Rent - Time Square              R             8990    15,000.00

03/29/2024   Expense              750 8th Avenue                           Rent:Rent - Time Square              R             8990    15,000.00

04/08/2024   Expense              750 8th Avenue                           Rent:Rent - Time Square              R             8990    15,000.00

                                  750 8th Avenue Total                                                                                60,000.00

03/12/2024   Expense              88 Global Partners LLC                   Rent:Rent - Chelsea                  R             8990     5,000.00

03/22/2024   Expense              88 Global Partners LLC                   Rent:Rent - Chelsea                  R             8990     2,500.00

03/29/2024   Expense              88 Global Partners LLC                   Rent:Rent - Chelsea                  R             8990     2,500.00

04/08/2024   Expense              88 Global Partners LLC                   Rent:Rent - Chelsea                  R             8990     2,500.00

                                  88 Global Partners LLC Total                                                                        12,500.00

03/05/2024   Expense              99 LD Truck Lease                        Leasing Services                     R             8990     1,889.00

03/05/2024   Expense              99 LD Truck Lease                        Leasing Services                     R             8990     1,889.00

04/02/2024   Expense              99 LD Truck Lease                        Leasing Services                     R             8990     1,889.00

04/02/2024   Expense              99 LD Truck Lease                        Leasing Services                     R             8990     1,889.00

05/06/2024   Expense              99 LD Truck Lease                        Leasing Services                     C             8990     1,889.00

05/06/2024   Expense              99 LD Truck Lease                        Leasing Services                     C             8990     1,889.00

                                  99 LD Truck Lease Total                                                                             11,334.00
                                                                           Cost of goods sold:Food Supplies &
04/05/2024   Expense              A1 Bakery Supply Inc                     materials - COGS                     R             8990     1,134.40
                                                                           Cost of goods sold:Food Supplies &
04/15/2024   Expense              A1 Bakery Supply Inc                     materials - COGS                     R             8990     5,407.60
                                                                           Cost of goods sold:Food Supplies &
04/19/2024   Expense              A1 Bakery Supply Inc                     materials - COGS                     R             8990     4,671.10
                                                                           Cost of goods sold:Food Supplies &
05/03/2024   Expense              A1 Bakery Supply Inc                     materials - COGS                     C             8990     7,308.00
                                                                           Cost of goods sold:Food Supplies &
05/13/2024   Expense              A1 Bakery Supply Inc                     materials - COGS                     C             8990     4,310.00
                                                                           Cost of goods sold:Food Supplies &
05/20/2024   Expense              A1 Bakery Supply Inc                     materials - COGS                     C             8990     6,770.00




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              Transaction
   Date          Type       Num   Name                                                        Split                Clr   Account    Credit

                                  A1 Bakery Supply Inc Total                                                                         29,601.10

02/21/2024   Expense              Action Environmental                    Utilities:Disposal & waste fees      R             8990     5,000.00

03/15/2024   Expense              Action Environmental                    Utilities:Disposal & waste fees      R             8990     4,280.81

03/25/2024   Expense              Action Environmental                    Utilities:Disposal & waste fees      R             8990     5,835.84

04/15/2024   Expense              Action Environmental                    Utilities:Disposal & waste fees      R             8990     5,000.00

05/15/2024   Expense              Action Environmental                    Utilities:Disposal & waste fees      C             8990      835.80

                                  Action Environmental Total                                                                         20,952.45
                                                                          Cost of goods sold:Food Supplies &
02/23/2024   Expense              Aje Produce LLC                         materials - COGS                     R             8990     5,540.00
                                                                          Cost of goods sold:Food Supplies &
03/01/2024   Expense              Aje Produce LLC                         materials - COGS                     R             8990     6,000.00
                                                                          Cost of goods sold:Food Supplies &
03/07/2024   Expense              Aje Produce LLC                         materials - COGS                     R             8990    10,000.00
                                                                          Cost of goods sold:Food Supplies &
03/14/2024   Expense              Aje Produce LLC                         materials - COGS                     R             8990     7,000.00
                                                                          Cost of goods sold:Food Supplies &
03/21/2024   Expense              Aje Produce LLC                         materials - COGS                     R             8990     7,700.00
                                                                          Cost of goods sold:Food Supplies &
03/29/2024   Expense              Aje Produce LLC                         materials - COGS                     R             8990     8,000.00
                                                                          Cost of goods sold:Food Supplies &
04/08/2024   Expense              Aje Produce LLC                         materials - COGS                     R             8990     5,800.00
                                                                          Cost of goods sold:Food Supplies &
04/12/2024   Expense              Aje Produce LLC                         materials - COGS                     R             8990      849.00

                                  Aje Produce LLC Total                                                                              50,889.00
                                                                          Cost of goods sold:Food Supplies &
03/04/2024   Expense              American Food Connect                   materials - COGS                     R             8990     5,000.00
                                                                          Cost of goods sold:Food Supplies &
03/06/2024   Expense              American Food Connect                   materials - COGS                     R             8990     3,134.00

                                  American Food Connect Total                                                                         8,134.00

02/21/2024   Expense              Arlind Gashi                            Payroll expenses:Salaries & wages    R             8990     3,350.54

02/28/2024   Expense              Arlind Gashi                            Payroll expenses:Salaries & wages    R             8990     2,500.00

03/06/2024   Expense              Arlind Gashi                            Payroll expenses:Salaries & wages    R             8990     2,500.00




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              Transaction
   Date          Type       Num   Name                                                       Split               Clr   Account    Credit

03/14/2024   Expense              Arlind Gashi                           Payroll expenses:Salaries & wages   R             8990     2,500.00

03/20/2024   Expense              Arlind Gashi                           Payroll expenses:Salaries & wages   R             8990     2,500.00

03/29/2024   Expense              Arlind Gashi                           Payroll expenses:Salaries & wages   R             8990     4,072.46

04/05/2024   Expense              Arlind Gashi                           Payroll expenses:Salaries & wages   R             8990     2,500.00

04/12/2024   Expense              Arlind Gashi                           Payroll expenses:Salaries & wages   R             8990     2,500.00

04/19/2024   Expense              Arlind Gashi                           Payroll expenses:Salaries & wages   R             8990     2,500.00

05/03/2024   Expense              Arlind Gashi                           Payroll expenses:Salaries & wages   C             8990     2,500.00

                                  Arlind Gashi Total                                                                               27,423.00

05/15/2024   Expense              Artprop Property LLC                   Rent:Rent - Arthouse                C             8990     5,000.00

                                  Artprop Property LLC Total                                                                        5,000.00

03/06/2024   Expense              Avenue M Midwood Realty                Rent:Rent - Ave M                   R             8990     2,000.00

03/13/2024   Expense              Avenue M Midwood Realty                Rent:Rent - Ave M                   R             8990     2,000.00

03/22/2024   Expense              Avenue M Midwood Realty                Rent:Rent - Ave M                   R             8990     2,000.00

03/29/2024   Expense              Avenue M Midwood Realty                Rent:Rent - Ave M                   R             8990     2,000.00

04/08/2024   Expense              Avenue M Midwood Realty                Rent:Rent - Ave M                   R             8990     2,000.00

05/03/2024   Expense              Avenue M Midwood Realty                Rent:Rent - Ave M                   C             8990     2,000.00

                                  Avenue M Midwood Realty Total                                                                    12,000.00

03/06/2024   Expense              Azul NYC LLC                           Rent:Rent - Bryant Park             R             8990     5,000.00

03/13/2024   Expense              Azul NYC LLC                           Rent:Rent - Bryant Park             R             8990     5,000.00

03/25/2024   Expense              Azul NYC LLC                           Rent:Rent - Bryant Park             R             8990     5,000.00

04/01/2024   Expense              Azul NYC LLC                           Rent:Rent - Bryant Park             R             8990     5,000.00

04/05/2024   Expense              Azul NYC LLC                           Rent:Rent - Bryant Park             R             8990     5,000.00




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              Transaction
   Date          Type       Num   Name                                                     Split                        Clr   Account    Credit

04/26/2024   Expense              Azul NYC LLC                         Rent:Rent - Bryant Park                      R             8990    15,000.00

05/03/2024   Expense              Azul NYC LLC                         Rent:Rent - Bryant Park                      C             8990     5,000.00

05/15/2024   Expense              Azul NYC LLC                         Rent:Rent - Bryant Park                      C             8990     4,000.00

05/20/2024   Expense              Azul NYC LLC                         Rent:Rent - Bryant Park                      C             8990     4,000.00

                                  Azul NYC LLC Total                                                                                      53,000.00
                                                                       Shareholders' equity:Distributions:Capital
04/08/2024   Expense              Capital One CC Payment               One CC Payments                              R             8990      119.34
                                                                       Shareholders' equity:Distributions:Capital
04/19/2024   Expense              Capital One CC Payment               One CC Payments                              R             8990    46,401.00

                                  Capital One CC Payment Total                                                                            46,520.34

02/21/2024   Expense              Cappellanes                          Payroll expenses:Salaries & wages            R             8990     4,273.71

02/29/2024   Expense              Cappellanes                          Payroll expenses:Salaries & wages            R             8990     1,545.54

03/06/2024   Expense              Cappellanes                          Payroll expenses:Salaries & wages            R             8990     3,033.77

03/14/2024   Expense              Cappellanes                          Payroll expenses:Salaries & wages            R             8990     3,592.17

03/20/2024   Expense              Cappellanes                          Payroll expenses:Salaries & wages            R             8990     4,810.31

03/29/2024   Expense              Cappellanes                          Payroll expenses:Salaries & wages            R             8990     3,860.29

04/05/2024   Expense              Cappellanes                          Payroll expenses:Salaries & wages            R             8990     3,701.69

04/12/2024   Expense              Cappellanes                          Payroll expenses:Salaries & wages            R             8990     4,385.97

04/19/2024   Expense              Cappellanes                          Payroll expenses:Salaries & wages            R             8990     4,461.74

04/26/2024   Expense              Cappellanes                          Payroll expenses:Salaries & wages            R             8990     4,308.00

05/07/2024   Expense              Cappellanes                          Payroll expenses:Salaries & wages            C             8990     4,327.00

05/13/2024   Expense              Cappellanes                          Payroll expenses:Salaries & wages            C             8990    10,456.00

                                  Cappellanes Total                                                                                       52,756.19
                                                                       Cost of goods sold:Food Supplies &
02/21/2024   Expense              Chef's Warehouse                     materials - COGS                             R             8990      499.59




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              Transaction
   Date          Type       Num   Name                                                       Split                Clr   Account    Credit
                                                                         Cost of goods sold:Food Supplies &
02/22/2024   Expense              Chef's Warehouse                       materials - COGS                     R             8990      558.02
                                                                         Cost of goods sold:Food Supplies &
02/22/2024   Expense              Chef's Warehouse                       materials - COGS                     R             8990      355.69
                                                                         Cost of goods sold:Food Supplies &
02/23/2024   Expense              Chef's Warehouse                       materials - COGS                     R             8990      473.42
                                                                         Cost of goods sold:Food Supplies &
02/23/2024   Expense              Chef's Warehouse                       materials - COGS                     R             8990     1,628.16
                                                                         Cost of goods sold:Food Supplies &
02/23/2024   Expense              Chef's Warehouse                       materials - COGS                     R             8990      613.81
                                                                         Cost of goods sold:Food Supplies &
02/26/2024   Expense              Chef's Warehouse                       materials - COGS                     R             8990      316.35
                                                                         Cost of goods sold:Food Supplies &
02/27/2024   Expense              Chef's Warehouse                       materials - COGS                     R             8990      413.43
                                                                         Cost of goods sold:Food Supplies &
02/27/2024   Expense              Chef's Warehouse                       materials - COGS                     R             8990      792.26
                                                                         Cost of goods sold:Food Supplies &
02/27/2024   Expense              Chef's Warehouse                       materials - COGS                     R             8990      746.92
                                                                         Cost of goods sold:Food Supplies &
02/29/2024   Expense              Chef's Warehouse                       materials - COGS                     R             8990      621.67
                                                                         Cost of goods sold:Food Supplies &
03/01/2024   Expense              Chef's Warehouse                       materials - COGS                     R             8990      504.82
                                                                         Cost of goods sold:Food Supplies &
03/18/2024   Expense              Chef's Warehouse                       materials - COGS                     R             8990    24,889.63

                                  Chef's Warehouse Total                                                                            32,413.77

03/13/2024   Expense              CNA                                    Insurance                            R             8990     7,735.47

04/11/2024   Expense              CNA                                    Insurance                            R             8990     7,735.47

05/13/2024   Expense              CNA                                    Insurance                            C             8990     7,735.47

                                  CNA Total                                                                                         23,206.41

03/05/2024   Expense              Cogent Waste Solutions LLC             Utilities:Disposal & waste fees      R             8990     1,447.82

03/29/2024   Expense              Cogent Waste Solutions LLC             Utilities:Disposal & waste fees      R             8990     3,500.00

04/02/2024   Expense              Cogent Waste Solutions LLC             Utilities:Disposal & waste fees      R             8990     8,000.00

05/06/2024   Expense              Cogent Waste Solutions LLC             Utilities:Disposal & waste fees      C             8990     1,447.82

05/17/2024   Expense              Cogent Waste Solutions LLC             Utilities:Disposal & waste fees      C             8990     4,000.00




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              Transaction
   Date          Type       Num   Name                                                         Split              Clr   Account    Credit

                                  Cogent Waste Solutions LLC Total                                                                  18,395.64

03/06/2024   Expense              Con Edison                             Utilities:Electricity / Gas          R             8990    10,000.00

03/26/2024   Expense              Con Edison                             Utilities:Electricity / Gas          R             8990     6,334.92

03/26/2024   Expense              Con Edison                             Utilities:Electricity / Gas          R             8990     2,192.53

03/26/2024   Expense              Con Edison                             Utilities:Electricity / Gas          R             8990      373.12

03/26/2024   Expense              Con Edison                             Utilities:Electricity / Gas          R             8990     3,507.61

04/23/2024   Expense              Con Edison                             Utilities:Electricity / Gas          R             8990     2,235.13

04/23/2024   Expense              Con Edison                             Utilities:Electricity / Gas          R             8990      257.17

04/23/2024   Expense              Con Edison                             Utilities:Electricity / Gas          R             8990     3,507.61

04/23/2024   Expense              Con Edison                             Utilities:Electricity / Gas          R             8990     7,818.65

05/16/2024   Expense              Con Edison                             Utilities:Electricity / Gas          C             8990     6,596.12

05/21/2024   Expense              Con Edison                             Utilities:Electricity / Gas          C             8990     1,000.00

05/21/2024   Expense              Con Edison                             Utilities:Electricity / Gas          C             8990     1,000.00

                                  Con Edison Total                                                                                  44,822.86

03/15/2024   Expense              CPC Equipment                          Short-term business loans            R             8990     2,040.64

04/15/2024   Expense              CPC Equipment                          Short-term business loans            R             8990     2,040.64

05/15/2024   Expense              CPC Equipment                          Short-term business loans            C             8990     2,040.64

                                  CPC Equipment Total                                                                                6,121.92

04/01/2024   Expense              Daror Associates LLC                   Improvements                         R             8990     9,000.00

                                  Daror Associates LLC Total                                                                         9,000.00
                                                                         Cost of goods sold:Food Supplies &
04/11/2024   Expense              David Rosen Company                    materials - COGS                     R             8990     3,868.20
                                                                         Cost of goods sold:Food Supplies &
04/17/2024   Expense              David Rosen Company                    materials - COGS                     R             8990     1,948.00




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              Transaction
   Date          Type       Num   Name                                                    Split                  Clr   Account    Credit
                                                                        Cost of goods sold:Food Supplies &
05/13/2024   Expense              David Rosen Company                   materials - COGS                     C             8990     3,781.01

                                  David Rosen Company Total                                                                         9,597.21

02/21/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     2,233.47

02/21/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     1,980.93

02/21/2024   Expense              Davo Technologies                     Sales Tax                            R             8990      514.97

02/22/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     1,817.92

02/23/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     2,189.64

02/26/2024   Expense              Davo Technologies                     Sales Tax                            R             8990        1.59

02/26/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     1,732.61

02/26/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     1,290.62

02/27/2024   Expense              Davo Technologies                     Sales Tax                            R             8990      453.55

02/27/2024   Expense              Davo Technologies                     Sales Tax                            R             8990       72.60

02/27/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     1,794.05

02/27/2024   Expense              Davo Technologies                     Sales Tax                            R             8990       19.09

02/28/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     1,525.15

02/29/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     1,635.19

03/01/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     1,843.56

03/04/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     1,972.59

03/04/2024   Expense              Davo Technologies                     Sales Tax                            R             8990      538.70

03/04/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     1,225.02

03/05/2024   Expense              Davo Technologies                     Sales Tax                            R             8990      418.33

03/05/2024   Expense              Davo Technologies                     Sales Tax                            R             8990     2,072.17




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              Transaction
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03/06/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,701.52

03/08/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,749.85

03/08/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,892.85

03/11/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,769.01

03/11/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,283.24

03/12/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,801.72

03/12/2024   Expense              Davo Technologies                Sales Tax                  R             8990      409.07

03/13/2024   Expense              Davo Technologies                Sales Tax                  R             8990        3.83

03/13/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,701.26

03/13/2024   Expense              Davo Technologies                Sales Tax                  R             8990        2.30

03/14/2024   Expense              Davo Technologies                Sales Tax                  R             8990     2,009.09

03/15/2024   Expense              Davo Technologies                Sales Tax                  R             8990     2,110.64

03/18/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,522.92

03/18/2024   Expense              Davo Technologies                Sales Tax                  R             8990     2,045.17

03/19/2024   Expense              Davo Technologies                Sales Tax                  R             8990     2,022.95

03/19/2024   Expense              Davo Technologies                Sales Tax                  R             8990      501.02

03/19/2024   Expense              Davo Technologies                Sales Tax                  R             8990        2.51

03/20/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,670.27

03/21/2024   Expense              Davo Technologies                Sales Tax                  R             8990      203.28

03/21/2024   Expense              Davo Technologies                Sales Tax                  R             8990      359.61

03/21/2024   Expense              Davo Technologies                Sales Tax                  R             8990      302.60

03/21/2024   Expense              Davo Technologies                Sales Tax                  R             8990      266.62




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              Transaction
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03/21/2024   Expense              Davo Technologies                Sales Tax                  R             8990      131.78

03/21/2024   Expense              Davo Technologies                Sales Tax                  R             8990        5.64

03/21/2024   Expense              Davo Technologies                Sales Tax                  R             8990        2.55

03/21/2024   Expense              Davo Technologies                Sales Tax                  R             8990      720.31

03/21/2024   Expense              Davo Technologies                Sales Tax                  R             8990      147.79

03/21/2024   Expense              Davo Technologies                Sales Tax                  R             8990       50.61

03/21/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,780.71

03/21/2024   Expense              Davo Technologies                Sales Tax                  R             8990      330.66

03/22/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,973.18

03/25/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,377.03

03/25/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,245.00

03/26/2024   Expense              Davo Technologies                Sales Tax                  R             8990      970.26

03/26/2024   Expense              Davo Technologies                Sales Tax                  R             8990      487.99

03/26/2024   Expense              Davo Technologies                Sales Tax                  R             8990        4.68

03/27/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,741.40

03/28/2024   Expense              Davo Technologies                Sales Tax                  R             8990        3.09

03/28/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,865.44

03/29/2024   Expense              Davo Technologies                Sales Tax                  R             8990     2,137.67

03/29/2024   Expense              Davo Technologies                Sales Tax                  R             8990        9.18

03/29/2024   Expense              Davo Technologies                Sales Tax                  R             8990        1.42

04/01/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,912.97

04/01/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,485.10




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              Transaction
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04/02/2024   Expense              Davo Technologies                Sales Tax                  R             8990      576.13

04/02/2024   Expense              Davo Technologies                Sales Tax                  R             8990      478.96

04/02/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,992.21

04/03/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,683.11

04/04/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,902.32

04/05/2024   Expense              Davo Technologies                Sales Tax                  R             8990        2.45

04/05/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,676.39

04/05/2024   Expense              Davo Technologies                Sales Tax                  R             8990        9.68

04/08/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,899.29

04/09/2024   Expense              Davo Technologies                Sales Tax                  R             8990       78.71

04/09/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,704.87

04/10/2024   Expense              Davo Technologies                Sales Tax                  R             8990      137.92

04/10/2024   Expense              Davo Technologies                Sales Tax                  R             8990      109.00

04/10/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,460.67

04/10/2024   Expense              Davo Technologies                Sales Tax                  R             8990      182.39

04/10/2024   Expense              Davo Technologies                Sales Tax                  R             8990       82.51

04/10/2024   Expense              Davo Technologies                Sales Tax                  R             8990      217.43

04/10/2024   Expense              Davo Technologies                Sales Tax                  R             8990      961.80

04/10/2024   Expense              Davo Technologies                Sales Tax                  R             8990       79.77

04/10/2024   Expense              Davo Technologies                Sales Tax                  R             8990       62.58

04/11/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,735.33

04/11/2024   Expense              Davo Technologies                Sales Tax                  R             8990        1.90




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              Transaction
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04/12/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,877.79

04/12/2024   Expense              Davo Technologies                Sales Tax                  R             8990       96.06

04/15/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,304.48

04/15/2024   Expense              Davo Technologies                Sales Tax                  R             8990       15.08

04/15/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,813.19

04/15/2024   Expense              Davo Technologies                Sales Tax                  R             8990       24.76

04/16/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,683.78

04/16/2024   Expense              Davo Technologies                Sales Tax                  R             8990      457.31

04/17/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,463.75

04/18/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,711.84

04/19/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,857.78

04/22/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,924.50

04/22/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,264.80

04/23/2024   Expense              Davo Technologies                Sales Tax                  R             8990       32.13

04/23/2024   Expense              Davo Technologies                Sales Tax                  R             8990     1,372.13

04/23/2024   Expense              Davo Technologies                Sales Tax                  R             8990        0.53

04/23/2024   Expense              Davo Technologies                Sales Tax                  R             8990      566.94

04/24/2024   Expense              Davo Technologies                Sales Tax                  R             8990       45.23

04/25/2024   Expense              Davo Technologies                Sales Tax                  R             8990        0.48

05/02/2024   Expense              Davo Technologies                Sales Tax                  C             8990      478.96

05/02/2024   Expense              Davo Technologies                Sales Tax                  C             8990        4.51

05/03/2024   Expense              Davo Technologies                Sales Tax                  C             8990      499.72




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              Transaction
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05/06/2024   Expense              Davo Technologies                   Sales Tax                            C             8990      905.01

05/06/2024   Expense              Davo Technologies                   Sales Tax                            C             8990     1,263.19

05/07/2024   Expense              Davo Technologies                   Sales Tax                            C             8990     1,253.28

05/07/2024   Expense              Davo Technologies                   Sales Tax                            C             8990      486.21

05/08/2024   Expense              Davo Technologies                   Sales Tax                            C             8990     1,200.62

05/09/2024   Expense              Davo Technologies                   Sales Tax                            C             8990     1,621.49

05/10/2024   Expense              Davo Technologies                   Sales Tax                            C             8990     1,671.26

05/13/2024   Expense              Davo Technologies                   Sales Tax                            C             8990     1,488.58

05/13/2024   Expense              Davo Technologies                   Sales Tax                            C             8990      911.66

05/14/2024   Expense              Davo Technologies                   Sales Tax                            C             8990     1,521.39

05/14/2024   Expense              Davo Technologies                   Sales Tax                            C             8990         2.84

05/14/2024   Expense              Davo Technologies                   Sales Tax                            C             8990      327.26

05/14/2024   Expense              Davo Technologies                   Sales Tax                            C             8990       16.78

05/15/2024   Expense              Davo Technologies                   Sales Tax                            C             8990     1,024.92

05/16/2024   Expense              Davo Technologies                   Sales Tax                            C             8990     1,369.40

05/17/2024   Expense              Davo Technologies                   Sales Tax                            C             8990     1,629.40

05/20/2024   Expense              Davo Technologies                   Sales Tax                            C             8990     1,647.12

05/20/2024   Expense              Davo Technologies                   Sales Tax                            C             8990      879.30

05/21/2024   Expense              Davo Technologies                   Sales Tax                            C             8990      463.68

05/21/2024   Expense              Davo Technologies                   Sales Tax                            C             8990     1,114.55

                                  Davo Technologies Total                                                                       125,376.65
                                                                      Cost of goods sold:Food Supplies &
02/23/2024   Expense              Dependable Food                     materials - COGS                     R             8990    10,000.00




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              Transaction
   Date          Type       Num   Name                                                 Split                  Clr   Account    Credit
                                                                     Cost of goods sold:Food Supplies &
02/26/2024   Expense              Dependable Food                    materials - COGS                     R             8990     5,000.00
                                                                     Cost of goods sold:Food Supplies &
02/28/2024   Expense              Dependable Food                    materials - COGS                     R             8990     5,000.00
                                                                     Cost of goods sold:Food Supplies &
02/29/2024   Expense              Dependable Food                    materials - COGS                     R             8990     5,000.00
                                                                     Cost of goods sold:Food Supplies &
03/01/2024   Expense              Dependable Food                    materials - COGS                     R             8990     5,000.00
                                                                     Cost of goods sold:Food Supplies &
03/05/2024   Expense              Dependable Food                    materials - COGS                     R             8990    25,000.00
                                                                     Cost of goods sold:Food Supplies &
03/21/2024   Expense              Dependable Food                    materials - COGS                     R             8990    18,000.00
                                                                     Cost of goods sold:Food Supplies &
03/22/2024   Expense              Dependable Food                    materials - COGS                     R             8990    31,469.92
                                                                     Cost of goods sold:Food Supplies &
03/29/2024   Expense              Dependable Food                    materials - COGS                     R             8990    11,244.59
                                                                     Cost of goods sold:Food Supplies &
04/05/2024   Expense              Dependable Food                    materials - COGS                     R             8990    20,000.00
                                                                     Cost of goods sold:Food Supplies &
04/12/2024   Expense              Dependable Food                    materials - COGS                     R             8990    16,000.00
                                                                     Cost of goods sold:Food Supplies &
04/19/2024   Expense              Dependable Food                    materials - COGS                     R             8990    14,000.00
                                                                     Cost of goods sold:Food Supplies &
05/03/2024   Expense              Dependable Food                    materials - COGS                     C             8990     6,774.84
                                                                     Cost of goods sold:Food Supplies &
05/07/2024   Expense              Dependable Food                    materials - COGS                     C             8990    32,000.00

                                  Dependable Food Total                                                                        204,489.35
                                                                     Cost of goods sold:Food Supplies &
02/21/2024   Expense              DEVASH FARMS                       materials - COGS                     R             8990     2,000.00
                                                                     Cost of goods sold:Food Supplies &
02/28/2024   Expense              DEVASH FARMS                       materials - COGS                     R             8990     2,000.00
                                                                     Cost of goods sold:Food Supplies &
03/14/2024   Expense              DEVASH FARMS                       materials - COGS                     R             8990     2,000.00
                                                                     Cost of goods sold:Food Supplies &
03/20/2024   Expense              DEVASH FARMS                       materials - COGS                     R             8990     2,000.00
                                                                     Cost of goods sold:Food Supplies &
03/29/2024   Expense              DEVASH FARMS                       materials - COGS                     R             8990     2,000.00
                                                                     Cost of goods sold:Food Supplies &
04/05/2024   Expense              DEVASH FARMS                       materials - COGS                     R             8990     2,000.00
                                                                     Cost of goods sold:Food Supplies &
04/12/2024   Expense              DEVASH FARMS                       materials - COGS                     R             8990     2,000.00
                                                                     Cost of goods sold:Food Supplies &
04/19/2024   Expense              DEVASH FARMS                       materials - COGS                     R             8990     2,000.00




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              Transaction
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                                                                    Cost of goods sold:Food Supplies &
05/03/2024   Expense              DEVASH FARMS                      materials - COGS                     C             8990     2,000.00

                                  DEVASH FARMS Total                                                                           18,000.00

03/01/2024   Expense              EZ Pass                           Vehicle expenses:Parking & tolls     R             8990     2,444.03

03/08/2024   Expense              EZ Pass                           Vehicle expenses:Parking & tolls     R             8990     1,137.95

03/18/2024   Expense              EZ Pass                           Vehicle expenses:Parking & tolls     R             8990     1,027.35

03/22/2024   Expense              EZ Pass                           Vehicle expenses:Parking & tolls     R             8990     1,031.37

04/01/2024   Expense              EZ Pass                           Vehicle expenses:Parking & tolls     R             8990     1,032.70

04/08/2024   Expense              EZ Pass                           Vehicle expenses:Parking & tolls     R             8990     1,034.20

04/15/2024   Expense              EZ Pass                           Vehicle expenses:Parking & tolls     R             8990     1,014.59

                                  EZ Pass Total                                                                                 8,722.19

02/21/2024   Expense              Fridman                           Payroll expenses:Salaries & wages    R             8990     2,000.00

02/28/2024   Expense              Fridman                           Payroll expenses:Salaries & wages    R             8990     2,000.00

03/06/2024   Expense              Fridman                           Payroll expenses:Salaries & wages    R             8990     2,000.00

03/14/2024   Expense              Fridman                           Payroll expenses:Salaries & wages    R             8990     2,000.00

03/20/2024   Expense              Fridman                           Payroll expenses:Salaries & wages    R             8990     2,000.00

03/29/2024   Expense              Fridman                           Payroll expenses:Salaries & wages    R             8990     2,000.00

04/05/2024   Expense              Fridman                           Payroll expenses:Salaries & wages    R             8990     2,000.00

04/12/2024   Expense              Fridman                           Payroll expenses:Salaries & wages    R             8990     2,000.00

04/19/2024   Expense              Fridman                           Payroll expenses:Salaries & wages    R             8990     2,000.00

                                  Fridman Total                                                                                18,000.00

03/15/2024   Expense              Isuzu                             Automobile Expense:Auto Lease        R             8990     1,119.90

03/22/2024   Expense              Isuzu                             Automobile Expense:Auto Lease        R             8990     1,924.46




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              Transaction
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04/01/2024   Expense              Isuzu                                  Automobile Expense:Auto Lease   R             8990     1,210.54

04/10/2024   Expense              Isuzu                                  Automobile Expense:Auto Lease   R             8990     2,026.27

04/15/2024   Expense              Isuzu                                  Automobile Expense:Auto Lease   R             8990     1,312.35

                                  Isuzu Total                                                                                   7,593.52

02/28/2024   Expense              Lakewood Plaza DE LLC                  Rent:Rent - Lakewood            R             8990     4,147.53

03/06/2024   Expense              Lakewood Plaza DE LLC                  Rent:Rent - Lakewood            R             8990     3,000.00

                                  Lakewood Plaza DE LLC Total                                                                   7,147.53

03/07/2024   Expense              Lease Corporation                      Short-term business loans       R             8990     3,111.44

04/01/2024   Expense              Lease Corporation                      Short-term business loans       R             8990     3,111.44

                                  Lease Corporation Total                                                                       6,222.88

02/26/2024   Expense              Limitless Packaging                    Supplies:Supplies & materials   R             8990     2,400.00

03/14/2024   Expense              Limitless Packaging                    Supplies:Supplies & materials   R             8990     2,350.00

04/18/2024   Expense              Limitless Packaging                    Supplies:Supplies & materials   R             8990     2,000.00

                                  Limitless Packaging Total                                                                     6,750.00

03/04/2024   Expense              M2 Equipment Finance                   Short-term business loans       R             8990     2,399.09

03/11/2024   Expense              M2 Equipment Finance                   Short-term business loans       R             8990     1,819.72

03/11/2024   Expense              M2 Equipment Finance                   Short-term business loans       R             8990     2,410.20

04/02/2024   Expense              M2 Equipment Finance                   Short-term business loans       R             8990     2,456.83

04/10/2024   Expense              M2 Equipment Finance                   Short-term business loans       R             8990     1,819.72

04/10/2024   Expense              M2 Equipment Finance                   Short-term business loans       R             8990     2,410.20

                                  M2 Equipment Finance Total                                                                   13,315.76

04/01/2024   Expense              McDonald Paper                         Supplies:Supplies & materials   R             8990     3,991.42




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              Transaction
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04/09/2024   Expense                   McDonald Paper                         Supplies:Supplies & materials        R             8990    13,000.00

04/15/2024   Expense                   McDonald Paper                         Supplies:Supplies & materials        R             8990     8,000.00

                                       McDonald Paper Total                                                                              24,991.42
                                                                              Cost of goods sold:Food Supplies &
03/04/2024   Expense                   Mehadrin Dairy                         materials - COGS                     R             8990    13,630.60

                                       Mehadrin Dairy Total                                                                              13,630.60
                                                                              Cost of goods sold:Food Supplies &
02/28/2024   Check          77         Mr Line Distributor                    materials - COGS                     R             8990     2,000.00
                                                                              Cost of goods sold:Food Supplies &
03/06/2024   Expense                   Mr Line Distributor                    materials - COGS                     R             8990     3,000.00
                                                                              Cost of goods sold:Food Supplies &
03/07/2024   Check          80         Mr Line Distributor                    materials - COGS                     R             8990      500.00
                                                                              Cost of goods sold:Food Supplies &
03/28/2024   Expense                   Mr Line Distributor                    materials - COGS                     R             8990     1,150.00
                                                                              Cost of goods sold:Food Supplies &
04/09/2024   Expense                   Mr Line Distributor                    materials - COGS                     R             8990     1,145.00
                                                                              Cost of goods sold:Food Supplies &
05/17/2024   Expense                   Mr Line Distributor                    materials - COGS                     C             8990     1,080.80

                                       Mr Line Distributor Total                                                                          8,875.80

03/06/2024   Expense                   Nask LLC                               Rent:Rent - Teaneck                  R             8990     5,998.00

03/29/2024   Expense                   Nask LLC                               Rent:Rent - Teaneck                  R             8990     2,500.00

04/05/2024   Expense                   Nask LLC                               Rent:Rent - Teaneck                  R             8990     2,500.00

04/08/2024   Expense                   Nask LLC                               Rent:Rent - Teaneck                  R             8990     2,500.00

05/03/2024   Expense                   Nask LLC                               Rent:Rent - Teaneck                  C             8990     2,500.00

                                       Nask LLC Total                                                                                    15,998.00

03/13/2024   Expense                   NY Broadway Hotel                      Rent:Rent - Arthouse                 R             8990     5,000.00

03/25/2024   Expense                   NY Broadway Hotel                      Rent:Rent - Arthouse                 R             8990     3,000.00

04/01/2024   Expense                   NY Broadway Hotel                      Travel:Hotels                        R             8990     2,500.00

04/08/2024   Expense                   NY Broadway Hotel                      Travel:Hotels                        R             8990     2,500.00




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              Transaction
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05/03/2024   Expense              NY Broadway Hotel                      Rent:Rent - Arthouse                 C             8990     5,000.00

                                  NY Broadway Hotel Total                                                                           18,000.00

04/09/2024   Expense              Nym Services LLC                       Uncategorized Expense                R             8990    10,400.00

                                  Nym Services LLC Total                                                                            10,400.00

03/29/2024   Expense              Oleg Azizov                            Payroll expenses:Salaries & wages    R             8990     5,000.00

04/08/2024   Expense              Oleg Azizov                            Payroll expenses:Salaries & wages    R             8990     5,000.00

                                  Oleg Azizov Total                                                                                 10,000.00

03/06/2024   Expense              Orthodox Union                         Kosher Supervision                   R             8990     2,000.00

03/14/2024   Expense              Orthodox Union                         Kosher Supervision                   R             8990     2,000.00

03/20/2024   Expense              Orthodox Union                         Kosher Supervision                   R             8990     2,000.00

03/29/2024   Expense              Orthodox Union                         Kosher Supervision                   R             8990     2,000.00

04/05/2024   Expense              Orthodox Union                         Kosher Supervision                   R             8990     2,000.00

04/19/2024   Expense              Orthodox Union                         Kosher Supervision                   R             8990     2,000.00

05/03/2024   Expense              Orthodox Union                         Kosher Supervision                   C             8990     2,000.00

                                  Orthodox Union Total                                                                              14,000.00
                                                                         Cost of goods sold:Food Supplies &
02/23/2024   Expense              Paradise Distributors, LLC             materials - COGS                     R             8990    10,000.00
                                                                         Cost of goods sold:Food Supplies &
02/26/2024   Expense              Paradise Distributors, LLC             materials - COGS                     R             8990     5,000.00
                                                                         Cost of goods sold:Food Supplies &
02/29/2024   Expense              Paradise Distributors, LLC             materials - COGS                     R             8990     1,500.00
                                                                         Cost of goods sold:Food Supplies &
03/01/2024   Expense              Paradise Distributors, LLC             materials - COGS                     R             8990    13,000.00
                                                                         Cost of goods sold:Food Supplies &
03/04/2024   Expense              Paradise Distributors, LLC             materials - COGS                     R             8990    10,000.00
                                                                         Cost of goods sold:Food Supplies &
03/06/2024   Expense              Paradise Distributors, LLC             materials - COGS                     R             8990     3,000.00
                                                                         Cost of goods sold:Food Supplies &
03/12/2024   Expense              Paradise Distributors, LLC             materials - COGS                     R             8990     4,000.00




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              Transaction
   Date          Type            Num   Name                                                          Split              Clr   Account    Credit
                                                                               Cost of goods sold:Food Supplies &
03/18/2024   Expense                   Paradise Distributors, LLC              materials - COGS                     R             8990    15,374.00
                                                                               Cost of goods sold:Food Supplies &
03/22/2024   Expense                   Paradise Distributors, LLC              materials - COGS                     R             8990    17,610.72
                                                                               Cost of goods sold:Food Supplies &
04/01/2024   Expense                   Paradise Distributors, LLC              materials - COGS                     R             8990    12,163.89
                                                                               Cost of goods sold:Food Supplies &
04/08/2024   Expense                   Paradise Distributors, LLC              materials - COGS                     R             8990    15,032.00
                                                                               Cost of goods sold:Food Supplies &
04/15/2024   Expense                   Paradise Distributors, LLC              materials - COGS                     R             8990    18,000.00
                                                                               Cost of goods sold:Food Supplies &
04/22/2024   Expense                   Paradise Distributors, LLC              materials - COGS                     R             8990    13,580.76
                                                                               Cost of goods sold:Food Supplies &
05/06/2024   Expense                   Paradise Distributors, LLC              materials - COGS                     C             8990    16,519.39
                                                                               Cost of goods sold:Food Supplies &
05/13/2024   Expense                   Paradise Distributors, LLC              materials - COGS                     C             8990    12,247.00
                                                                               Cost of goods sold:Food Supplies &
05/20/2024   Expense                   Paradise Distributors, LLC              materials - COGS                     C             8990    14,831.00

                                       Paradise Distributors, LLC Total                                                                  181,858.76

05/16/2024   Expense                   Patis America LLC                       Uncategorized Expense                C             8990    20,000.00

                                       Patis America LLC Total                                                                            20,000.00

02/22/2024   Check          76         PSEG                                    Utilities:Electricity / Gas          R             8990    15,000.00

                                       PSEG Total                                                                                         15,000.00

03/05/2024   Expense                   Public Service Enterprise Group Inc     Utilities:Electricity / Gas          R             8990     1,832.90

04/02/2024   Expense                   Public Service Enterprise Group Inc     Utilities:Electricity / Gas          R             8990     8,253.45

04/04/2024   Expense                   Public Service Enterprise Group Inc     Utilities:Electricity / Gas          R             8990     1,365.23

05/06/2024   Expense                   Public Service Enterprise Group Inc     Utilities:Electricity / Gas          C             8990     1,294.77
                                       Public Service Enterprise Group Inc
                                       Total                                                                                              12,746.35
                                                                               Cost of goods sold:Food Supplies &
02/23/2024   Expense                   Raskins Fish Market                     materials - COGS                     R             8990     4,500.00
                                                                               Cost of goods sold:Food Supplies &
03/06/2024   Expense                   Raskins Fish Market                     materials - COGS                     R             8990     2,000.00
                                                                               Cost of goods sold:Food Supplies &
03/14/2024   Expense                   Raskins Fish Market                     materials - COGS                     R             8990     2,000.00




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              Transaction
   Date          Type       Num   Name                                                     Split                  Clr   Account    Credit
                                                                         Cost of goods sold:Food Supplies &
03/19/2024   Expense              Raskins Fish Market                    materials - COGS                     R             8990     2,000.00
                                                                         Cost of goods sold:Food Supplies &
03/26/2024   Expense              Raskins Fish Market                    materials - COGS                     R             8990     1,900.00
                                                                         Cost of goods sold:Food Supplies &
04/01/2024   Expense              Raskins Fish Market                    materials - COGS                     R             8990     4,500.00
                                                                         Cost of goods sold:Food Supplies &
04/12/2024   Expense              Raskins Fish Market                    materials - COGS                     R             8990     2,000.00
                                                                         Cost of goods sold:Food Supplies &
04/19/2024   Expense              Raskins Fish Market                    materials - COGS                     R             8990     2,000.00
                                                                         Cost of goods sold:Food Supplies &
05/13/2024   Expense              Raskins Fish Market                    materials - COGS                     C             8990     2,000.00
                                                                         Cost of goods sold:Food Supplies &
05/15/2024   Expense              Raskins Fish Market                    materials - COGS                     C             8990     3,000.00
                                                                         Cost of goods sold:Food Supplies &
05/21/2024   Expense              Raskins Fish Market                    materials - COGS                     C             8990     3,000.00

                                  Raskins Fish Market Total                                                                         28,900.00
                                                                         Cost of goods sold:Food Supplies &
02/26/2024   Expense              Redway Group Inc                       materials - COGS                     R             8990     8,500.00
                                                                         Cost of goods sold:Food Supplies &
03/04/2024   Expense              Redway Group Inc                       materials - COGS                     R             8990     7,000.00
                                                                         Cost of goods sold:Food Supplies &
03/11/2024   Expense              Redway Group Inc                       materials - COGS                     R             8990     8,000.00
                                                                         Cost of goods sold:Food Supplies &
03/18/2024   Expense              Redway Group Inc                       materials - COGS                     R             8990     9,310.00
                                                                         Cost of goods sold:Food Supplies &
03/26/2024   Expense              Redway Group Inc                       materials - COGS                     R             8990    10,930.00

                                  Redway Group Inc Total                                                                            43,740.00
                                                                         Cost of goods sold:Food Supplies &
04/09/2024   Expense              Rimini Farms                           materials - COGS                     R             8990     3,398.00
                                                                         Cost of goods sold:Food Supplies &
04/12/2024   Expense              Rimini Farms                           materials - COGS                     R             8990     5,300.00

                                  Rimini Farms Total                                                                                 8,698.00
                                                                         Cost of goods sold:Food Supplies &
04/19/2024   Expense              Rossman Fruit & Vegetables             materials - COGS                     R             8990     6,413.00
                                                                         Cost of goods sold:Food Supplies &
05/03/2024   Expense              Rossman Fruit & Vegetables             materials - COGS                     C             8990     4,162.00
                                                                         Cost of goods sold:Food Supplies &
05/21/2024   Expense              Rossman Fruit & Vegetables             materials - COGS                     C             8990     2,400.00

                                  Rossman Fruit & Vegetables Total                                                                  12,975.00




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              Transaction
   Date          Type       Num   Name                                                      Split         Clr   Account    Credit

02/23/2024   Expense              Sinayskaya Univer Law                   Legal & Professional Fees   R             8990     1,000.00

03/01/2024   Expense              Sinayskaya Univer Law                   Legal & Professional Fees   R             8990     1,000.00

03/08/2024   Expense              Sinayskaya Univer Law                   Legal & Professional Fees   R             8990     1,000.00

03/18/2024   Expense              Sinayskaya Univer Law                   Legal & Professional Fees   R             8990     1,000.00

04/01/2024   Expense              Sinayskaya Univer Law                   Legal & Professional Fees   R             8990     1,000.00

04/08/2024   Expense              Sinayskaya Univer Law                   Legal & Professional Fees   R             8990     1,000.00

04/15/2024   Expense              Sinayskaya Univer Law                   Legal & Professional Fees   R             8990     1,000.00

04/22/2024   Expense              Sinayskaya Univer Law                   Legal & Professional Fees   R             8990     1,000.00

05/06/2024   Expense              Sinayskaya Univer Law                   Legal & Professional Fees   C             8990     1,000.00

05/20/2024   Expense              Sinayskaya Univer Law                   Legal & Professional Fees   C             8990     1,000.00

                                  Sinayskaya Univer Law Total                                                               10,000.00

02/21/2024   Expense              State Farm Insurance                    Insurance                   R             8990      859.97

03/01/2024   Expense              State Farm Insurance                    Insurance                   R             8990      776.26

03/20/2024   Expense              State Farm Insurance                    Insurance                   R             8990      859.97

03/26/2024   Expense              State Farm Insurance                    Insurance                   R             8990     2,180.49

04/01/2024   Expense              State Farm Insurance                    Insurance                   R             8990      726.90

04/22/2024   Expense              State Farm Insurance                    Insurance                   R             8990      859.97

05/13/2024   Expense              State Farm Insurance                    Insurance                   C             8990     4,380.98

                                  State Farm Insurance Total                                                                10,644.54

04/17/2024   Expense              TD Bank Payment                         TD Bank 9018                R             8990     5,000.00

05/15/2024   Expense              TD Bank Payment                         Uncategorized Expense       C             8990    10,000.00

                                  TD Bank Payment Total                                                                     15,000.00




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              Transaction
   Date          Type       Num   Name                                                    Split                  Clr   Account    Credit

02/21/2024   Expense              The Chabad Shul                       Rent:Rent - Amsterdam                R             8990     6,000.00

04/05/2024   Expense              The Chabad Shul                       Rent:Rent - Amsterdam                R             8990     2,500.00

                                  The Chabad Shul Total                                                                             8,500.00
                                                                        Cost of goods sold:Food Supplies &
02/23/2024   Expense              The Chosen Bean and Beverage LLC      materials - COGS                     R             8990     5,000.00
                                                                        Cost of goods sold:Food Supplies &
03/05/2024   Expense              The Chosen Bean and Beverage LLC      materials - COGS                     R             8990     5,000.00
                                                                        Cost of goods sold:Food Supplies &
03/13/2024   Expense              The Chosen Bean and Beverage LLC      materials - COGS                     R             8990     5,000.00
                                                                        Cost of goods sold:Food Supplies &
03/21/2024   Expense              The Chosen Bean and Beverage LLC      materials - COGS                     R             8990     5,000.00
                                                                        Cost of goods sold:Food Supplies &
03/29/2024   Expense              The Chosen Bean and Beverage LLC      materials - COGS                     R             8990     5,000.00
                                                                        Cost of goods sold:Food Supplies &
04/05/2024   Expense              The Chosen Bean and Beverage LLC      materials - COGS                     R             8990     5,000.00
                                                                        Cost of goods sold:Food Supplies &
04/12/2024   Expense              The Chosen Bean and Beverage LLC      materials - COGS                     R             8990     5,000.00
                                                                        Cost of goods sold:Food Supplies &
04/19/2024   Expense              The Chosen Bean and Beverage LLC      materials - COGS                     R             8990     5,000.00
                                                                        Cost of goods sold:Food Supplies &
05/15/2024   Expense              The Chosen Bean and Beverage LLC      materials - COGS                     C             8990     5,000.00
                                  The Chosen Bean and Beverage LLC
                                  Total                                                                                            45,000.00

02/21/2024   Expense              Waking Creative LLC                   Advertising & marketing              R             8990     1,000.00

02/28/2024   Expense              Waking Creative LLC                   Advertising & marketing              R             8990     1,000.00

03/06/2024   Expense              Waking Creative LLC                   Advertising & marketing              R             8990     1,000.00

03/14/2024   Expense              Waking Creative LLC                   Advertising & marketing              R             8990     1,000.00

03/20/2024   Expense              Waking Creative LLC                   Advertising & marketing              R             8990     1,000.00

04/19/2024   Expense              Waking Creative LLC                   Advertising & marketing              R             8990     1,000.00

05/03/2024   Expense              Waking Creative LLC                   Advertising & marketing              C             8990     1,000.00

05/13/2024   Expense              Waking Creative LLC                   Advertising & marketing              C             8990     2,000.00

                                  Waking Creative LLC Total                                                                         9,000.00




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              Transaction
   Date          Type       Num   Name                                               Split                   Clr   Account     Credit

02/23/2024   Expense              Wex Inc                          Vehicle expenses:Vehicle gas & fuel   R             8990        873.97

03/01/2024   Expense              Wex Inc                          Vehicle expenses:Vehicle gas & fuel   R             8990        962.80

03/08/2024   Expense              Wex Inc                          Vehicle expenses:Vehicle gas & fuel   R             8990      1,200.90

03/18/2024   Expense              Wex Inc                          Vehicle expenses:Vehicle gas & fuel   R             8990        899.45

03/22/2024   Expense              Wex Inc                          Vehicle expenses:Vehicle gas & fuel   R             8990        795.04

04/02/2024   Expense              Wex Inc                          Vehicle expenses:Vehicle gas & fuel   R             8990        961.88

04/10/2024   Expense              Wex Inc                          Vehicle expenses:Vehicle gas & fuel   R             8990        878.33

04/16/2024   Expense              Wex Inc                          Vehicle expenses:Vehicle gas & fuel   R             8990      1,875.72

04/23/2024   Expense              Wex Inc                          Vehicle expenses:Vehicle gas & fuel   R             8990        174.83

05/07/2024   Expense              Wex Inc                          Vehicle expenses:Vehicle gas & fuel   C             8990      1,399.90

05/17/2024   Expense              Wex Inc                          Vehicle expenses:Vehicle gas & fuel   C             8990      2,500.00
                                  Wex Inc Total                                                                                 12,522.82
                                  Grand Total                                                                                 1,582,776.00




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                                                                            SOFA Part 2 4. 1 year Insider Payments
                                                                               May 22, 2023 - May 21, 2024

                           Transacti
                 Date      on Type       Num   Posting                                          Memo/Description                             Account        Amount
Oleg Azizov
              07/07/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX44697   Bank of America 4694      -5,000.00
              07/10/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX54734   Bank of America 4694      -5,000.00
              07/17/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX20551   Bank of America 4694      -5,000.00
              07/24/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX11803   Bank of America 4694      -5,000.00
              07/31/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX82219   Bank of America 4694      -5,000.00
              08/11/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX37391   Bank of America 4694      -5,000.00
              08/14/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX37791   Bank of America 4694      -5,000.00
              09/08/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX27275   Bank of America 8990     -10,000.00
              09/18/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX73591   Bank of America 8990     -10,000.00
              09/21/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX35092   Bank of America 8990      -5,000.00
              09/28/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX24692   Bank of America 8990      -5,000.00
              10/05/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX97199   Bank of America 8990      -5,000.00
              10/12/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX72849   Bank of America 8990      -5,000.00
              10/19/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX48361   Bank of America 8990      -5,000.00
              10/26/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX34502   Bank of America 8990      -5,000.00
              11/02/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX22298   Bank of America 8990      -5,000.00
              11/09/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX50967   Bank of America 8990      -5,000.00
              11/16/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX34489   Bank of America 8990      -5,000.00
              11/22/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX20759   Bank of America 8990      -5,000.00
              11/30/2023   Check       11292   Yes       Check 11292                                                                 Bank of America 8990      -2,914.60
              12/07/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX74527   Bank of America 8990      -5,000.00
              12/14/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX58221   Bank of America 8990      -5,000.00
              12/21/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX35764   Bank of America 8990      -5,000.00
              12/28/2023   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX25480   Bank of America 8990      -5,000.00
              01/04/2024   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX97685   Bank of America 8990      -5,000.00
              01/11/2024   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX74277   Bank of America 8990      -5,000.00
              01/18/2024   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX55128   Bank of America 8990      -5,000.00
              01/25/2024   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX36669   Bank of America 8990      -5,000.00
              01/31/2024   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX52488   Bank of America 8990      -5,000.00
              03/29/2024   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX32212   Bank of America 8990      -5,000.00
              04/08/2024   Expense             Yes       TRANSFER 703 BAKERY CORP:Oleg Azizov             Confirmation# XXXXX75267   Bank of America 8990      -5,000.00
                                                                                                                                                             -162,914.60
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of New Jersey
 In re       703 Bakery Corp.                                                                                Case No.
                                                                              Debtor(s)                      Chapter        11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept               McManimon, Scotland & Baumann, LLC ("MS&B"), will be paid for its
                                                                       fees and expenses as allowed by the Court upon the filing and
                                                                       approval of fee applications
             Prior to the filing of this statement I have received     MS&B was paid a retainer in the amount of $32,000 ("Retainer") on
                                                                       behalf of the within Debtor. Pre-petition MS&B received $7055 for
                                                                       services rendered and $1,738 as reimbursement for the Ch. 11 filing
                                                                       fee.
             Balance Due

2.   The source of the compensation paid to me was:
                  Debtor             Other (specify):      Avi Gold/Data Points Enterprise LLC

3.   The source of compensation to be paid to me is:
                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

     General representation of the Debtor in this Chapter 11 case as will be set forth in the application for retention of
     McManimon, Scotland & Baumann, LLC, as counsel to the Debtor.


                                                                       CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     May 21, 2024                                                             /s/ Anthony Sodono, III
     Date                                                                     Anthony Sodono, III
                                                                              Signature of Attorney
                                                                              McManimon, Scotland & Baumann, LLC
                                                                              75 Livingston Avenue
                                                                              Second Floor
                                                                              Roseland, NJ 07068
                                                                              973-622-1800 Fax: 973-712-1463
                                                                              asodono@msbnj.com
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                                  District of New Jersey
 In re    703 Bakery Corp.                                                                                        Case No.       24-15150 (VFP)
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Azizov, Oleg                                                                                                                 99.75%
1773 E. 29th Street
Brooklyn, NY 11229

Hammerman, Jacob                                                                                                             0.25%
32 Wilder Road
Monsey, NY 10952


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date June 24, 2024                                                       Signature /s/ Oleg Azizov
                                                                                        Oleg Azizov

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                          District of New Jersey
 In re   703 Bakery Corp.                                                                         Case No.     24-15150 (VFP)
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.
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                         266 Kingston Ave. Realty LLC
                         8210 Baxter Avenue
                         Elmhurst, NY 11373


                         286 Kingston Ave. Realty LLC
                         266 Kingston Avenue
                         Brooklyn, NY 11213


                         3611 Joint Venture LLC
                         PO Box 180240
                         Brooklyn, NY 11218


                         750 8th Avenue LLC
                         c/o Eric H. Kahan, Esq.
                         SKH Heiberger LLP
                         228 East 45th Street, 14th Fl.
                         New York, NY 10017


                         750 8th Avenue LLC
                         c/oTorkin Group
                         1650 Broadway, Ste. 910
                         228 East 45th Street, 14th Fl.
                         New York, NY 10019


                         88 Global Partners LLC
                         125-10 Queens Blvd., Ste. 222
                         Kew Gardens, NY 11415


                         9 Crosby, LLC
                         261 Madison Ave., 17th Fl.
                         New York, NY 10016


                         99 LD Truck Lease
                         99 Washington Avenue
                         Suffern, NY 10901


                         A New Age Auto Glass
                         Attn: Nancy Candelaria
                         PO Box 1081
                         Bloomfield, NJ 07003


                         A-1 Bakery Supply Inc.
                         35 Taylor Drive
                         Wayne, NJ 07470
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                     ABG 2021 CLAT
                     2416 Avenue J
                     Brooklyn, NY 11210


                     Air Stream Air Conditioning Corporation
                     400 Crossways Park Drive
                     Woodbury, NY 11797


                     American Food Connection
                     46 Russell Street
                     Roslyn Heights, NY 11577


                     Arthouse Hotel
                     2178 Broadway
                     New York, NY 10024


                     Artprop Perty LLC (Arthouse)
                     2178 Broadway at W. 77th St.
                     New York, NY 10024


                     Avenue M Midwood Realty LLC
                     1716 Avenue M
                     Brooklyn, NY 11230


                     Azizov, Oleg
                     1773 E. 29th Street
                     Brooklyn, NY 11229


                     Azul NYC LLC
                     1370 Broadway, Ste. 613
                     New York, NY 10018


                     B.P. Electric Corp.
                     1425 37th Street
                     Brooklyn, NY 11218


                     Bakemark/Valente
                     N92 W14401 Anthony Avenue
                     Menomonee Falls, WI 53051


                     Balboa Capital
                     Collection Dept.
                     575 Anton Blvd., 12th Fl.
                     Costa Mesa, CA 92626
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                     Banclease Acceptance Corp.
                     8221 Tristar Drive
                     Irving, TX 75063


                     Banner Smoked Fish Inc.
                     2715 W. 15th Street
                     Brooklyn, NY 11224


                     BH Eggs
                     110 Park Lane
                     Monsey, NY 10952


                     Bowery Farming Inc.
                     151 W. 26th Street, 12th Fl.
                     New York, NY 10001


                     Centra Funding
                     1400 Preston Road, #115
                     Plano, TX 75093


                     Chabad Shul of the West Side Inc. (The)
                     166 W. 97th Street
                     New York, NY 10025


                     Cheshin, Eli
                     704 Cedar Lawn Avenue
                     Far Rockaway, NY 11691


                     Chosen Bean and Beveraage, LLC (The)
                     2955 NW 27th Street
                     Bldg. 12
                     Fort Lauderdale, FL 33311


                     Cintas Corp.
                     PO Box 630803
                     Cincinnati, OH 45263-0803


                     Citizens Capital
                     501 w. Broadway, 8th Fl.
                     San Diego, CA 92101


                     Cogent Waste Solutions, LLC
                     5835 47th Street
                     Maspeth, NY 11378
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                     Commercial Funding Partners, LLC
                     12198 S. State Street, Ste. 4
                     Draper, UT 84020


                     ConEdison
                     PO Box 1701
                     New York, NY 10116-1701


                     Correlative Smart Engineering
                     8225 5th Avenue, #353
                     Brooklyn, NY 11209


                     CPC Equipment
                     10900 Wayzata Blvd., Ste. 300
                     Minnetonka, MN 55305


                     CT Corporation System, as Representative
                     Attn: SRPS
                     330 N. Brand Blvd., Ste. 700
                     Glendale, CA 91203


                     Dairyland The Chefs' Warehouse
                     240 Food Centr Drive
                     Bronx, NY 10474


                     David Rosen Bakery Supply Co.
                     59-21 Queens Midtown Expressway
                     Maspeth, NY 11378


                     Degale, Elaine Joy
                     12-30 31 Drive, #1A
                     Astoria, NY 11106


                     Dependable Food
                     25 Executive Avenue
                     Edison, NJ 08817


                     Deutsch, Herschel, CPA
                     1440 46th Street
                     Brooklyn, NY 11219


                     Devash Farms
                     PO Box 846
                     Whitehouse Station, NJ 08889
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                     Domestic Linen Supply Company
                     30555 Northwestern ighway, Ste. 300
                     Farmington Hills, MI 48334


                     Domestic Uniform Rental
                     PO Box 38
                     Belleville, NJ 07109


                     E-Z Edge Incorporated
                     6119 Adams Street
                     West New York, NJ 07093


                     E.O.M. Realty Corp.
                     676 Amsterdam Avenue
                     New York, NY 10025


                     Ecolab
                     1 Ecolab Placed
                     Saint Paul, MN 55102


                     EPA Co.
                     2970 West 27th St., Apt. 709
                     Brooklyn, NY 11224


                     Epic Fish Co.
                     1860 Utica Avenue
                     Brooklyn, NY 11234


                     EZPass
                     375 McCarter Highway
                     Newark, NJ 07114


                     Financial Pacific Leasing, Inc.
                     3455 S. 344th Way, Ste. 300
                     Federal Way, WA 98001


                     First Citizens Bank & Trust
                     Attn: Recovery
                     10201 Centurion Parkway, N
                     Jacksonville, FL 32256


                     First Utah Bank
                     3826 South 2300, E
                     Salt Lake City, UT 84109
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                     Flavored Frozen Yogurt LLC
                     704 Cedar Lawn Avenue
                     Lawrence, NY 11691


                     Frank M. Gargiulo and Son, Inc.
                     535 Sweetland Avenue
                     Hillside, NJ 07205


                     Fresh Checked Dist.
                     5510 16 Avenue, 3rd Fl.
                     Brooklyn, NY 11204


                     Friedman, Goldie
                     320 Empire Blvd.
                     Apt. 2L
                     Brooklyn, NY 11225


                     G&P Gourmet
                     PO Box 340978
                     Brooklyn, NY 11234


                     Gashi, Arlind
                     1057 Swinton Avenue
                     Bronx, NY 10465


                     Gestener, Abe
                     441 Brenwood Avenue
                     Toms River, NJ 08755


                     Gold, Avi/Data Points Enterprise LLC
                     7129 Via Firenza
                     Boca Raton, FL 33433


                     Gorjian, Joel
                     12 Wesey Court
                     Great Neck, NY 11024


                     Halpert, Kate and Phil
                     734 Hillcrest Place
                     Valley Stream, NY 11581


                     Hammerman, Jacob
                     32 Wilder Road
                     Monsey, NY 10952
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                     HMAUU LLC
                     1091 Fordham Lane
                     Woodmere, NY 11598


                     HNB DES
                     17 S. High Street
                     Columbus, OH 43215


                     Huntington National Bank (The)
                     1405 Xenium Lane, N (PCC180)
                     Plymouth, MN 55441


                     Imperial Dade
                     255 US-1 & 9
                     Jersey City, NJ 07306


                     Internal Revenue Service
                     PO Box 7346
                     Philadelphia, PA 19101-7346


                     Interstate Waste Services, Inc.
                     300 Frank W. Burr Blvd., Ste. 39
                     Teaneck, NJ 07666


                     Isuzu Finance of America, Inc.
                     2500 Westchester Avenue, Ste. 312
                     Purchase, NY 10577


                     Kayco B&W Foods
                     75 New Hook Road
                     PO Box 82
                     Bayonne, NJ 07002


                     Lakewood Madison Plaza LP/
                     Lakewood Madison Plaza DE 2 LLC
                     c/o AJH Managemenet
                     PO Box 580
                     Lakewood, NJ 08701


                     Lakewood Plaza DE LLC
                     PO Box 580
                     Lakewood, NJ 08701
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                     LCA Bank Corporation
                     1441 W. Ute Blvd., Ste. 250
                     Park City, UT 84098


                     Levine, Josh
                     Levine and Associates
                     135 Rockaway Turnpike, Ste. 111
                     Lawrence, NY 11559


                     Limitless Packaging LLC
                     2361 Nostrand Avenue, Ste. 402
                     Brooklyn, NY 11210


                     m2 Equipment
                     175 N. Patrick Blvd., Ste. 140
                     Brookfield, WI 53045


                     Marmorstein, A., Rabbi
                     276 Riverside Drive
                     New York, NY 10025


                     McDonald Paper & Restaurant Supplies
                     999 3rd Avenue
                     Brooklyn, NY 11232


                     Mehadrin Dairy
                     100 Trumbull St.
                     Elizabeth, NJ 07206


                     Midwood Realty LLC
                     187 Avenue U
                     Brooklyn, NY 11223


                     Moishie M. Klein, Esq.
                     40 Airport Road
                     Lakewood, NJ 08701


                     Mokhtar, Ben
                     89-61 164th Street
                     Jamaica, NY 11432


                     Mr. Line Distributor Inc.
                     3-06 Dorothy Street
                     Fair Lawn, NJ 07410
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                     NASC LLC
                     431-441B Cedar Lane
                     Teaneck, NJ 07666


                     Natalia Batista Vazquez, Esq.
                     U.S. Small Business Administration
                     New Jersey District Office
                     Two Gateway Center, Ste. 1002
                     Newark, NJ 07102


                     Nebenzahl, Samuel
                     370 Lexington Avenue, Ste. 201
                     New York, NY 10017


                     Nebenzahl, Samuel
                     22 Esty Circle
                     Lakewood, NJ 08701


                     New Jersey Attorney General's Office
                     Div. of Law; RJ Hughes Justice Complex
                     25 Market Street
                     PO Box 112
                     Trenton, NJ 08625-0112


                     New Jersey Dept. of Labor
                     Division of Employer Accounts
                     1 John Fitch Plaza
                     PO Box 389
                     Trenton, NJ 08611-0389


                     New Jersey Division of Taxation
                     Compliance/Enforcement - Bankruptcy Unit
                     3 John Fitch Way, 5th Fl.
                     Trenton, NJ 08695-0245


                     New York State Dept of Tax & Finance
                     Bankruptcy Section
                     PO Box 5300
                     Albany, NY 12205-0300


                     New York State Dept. Tax & Finance
                     Bankruptcy Unit - tCD
                     Bldg. 8, Rm. 455
                     W.A. Harriman State Campus
                     Albany, NY 12227
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                     Nishmat LLC
                     1824 E. 22 St.
                     Brooklyn, NY 11229


                     Normaze Associates Inc.
                     17 Lawrence Way
                     Cedar Grove, NJ 07009


                     Normaze Associates, Inc.
                     17 Lawrence Way
                     Cedar Grove, NJ 07009


                     NRCF 2GC LLC
                     140 E. 45th Street
                     New York, NY 10017


                     NY City Dept. of Finance
                     Office of Legal Affairs
                     375 Pearl Street, 30th Fl.
                     New York, NY 10038


                     NYC Electricians
                     50 Saint Marks Placed
                     New York, NY 10003


                     NYM Services LLC
                     dba Fidelity Payment Services
                     Attn: Legal Depaartment
                     141 Flushing Avenue, Ste. 501
                     Brooklyn, NY 11205


                     NYS Department of Labor
                     Building 12
                     w.A. Harriman Campus
                     Albany, NY 12226


                     Odeko
                     125 State Street
                     Moonachie, NJ 07074


                     Office of the NYS Attorney General
                     The Capitol
                     Albany, NY 12224-0341
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                     Order Co.
                     156 Fifth Avenue, 7th Fl.
                     New York, NY 10010


                     Orthodox Union
                     40 Rector Street, 4th Fl.
                     New York, NY 10006


                     Paradise Distributors, LLC
                     3592 Bedford Avenue
                     Brooklyn, NY 11210


                     Pawn Funding
                     2167 E. 21st Street, Ste. 252
                     Brooklyn, NY 11229


                     Pawnee Leasing Corporation
                     3801 Automaation Way, Ste. 207
                     Fort Collins, CO 80525


                     PSE&G
                     Attn: Alexandra Grant, Esq.
                     80 Park Plaza
                     Newark, NJ 07102


                     Rabanipur, Daniel
                     25 Newbridge Road, Ste. 405
                     Hicksville, NY 11801


                     Rabinovici, David
                     1091 Fordham Lane
                     Woodmere, NY 11598


                     Raskin's Fish Market Inc.
                     320 Kingston Ave.
                     Brooklyn, NY 11213


                     RE&RU Corp.
                     1015 St. Johns Place
                     Apt. A3
                     Brooklyn, NY 11213


                     Redway Group Inc.
                     17020 Five Waters Ave.
                     Boca Raton, FL 33496
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                     Regents Capital Corporation
                     3200 Bristol Street, Ste. 400
                     Costa Mesa, CA 92626


                     Ridgefield Kosher Bakery
                     501 Broad Avenue
                     Ridgefield, NJ 07657


                     Rossman Farms
                     770 3rd Avenue
                     Brooklyn, NY 11232


                     S. OH Group, LLC (The)
                     1055 river Road, #1010
                     Edgewater, NJ 07020


                     Sani-Lab Corporation
                     43 Westminster Way
                     Pomona, NY 10970


                     Secured Lender Solutions, LLC
                     PO Box 2576
                     Springfield, IL 62708


                     Shkolnik, Yudi
                     1606 Caffrey Avenue
                     Far Rockaway, NY 11691


                     Silver Lake
                     37-09 Main Street, Ste. 3B
                     Flushing, NY 11354


                     Sinayskaya Yuniver PC
                     710 Avenue U
                     Brooklyn, NY 11223


                     Soleimani, Isaac
                     10 Cuttermill Road, Ste. 302
                     Great Neck, NY 11021


                     Square Financial Services
                     3165 E. Millrock Drive, Ste. 160
                     Salt Lake City, UT 84121
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                     Targeted Lending
                     5500 Main Street, Ste. 300
                     Williamsville, NY 14221


                     U.S. Small Business Administration
                     2 North Street, Ste. 320
                     Birmingham, AL 35203


                     Uline
                     Attn: Accounts Receivable
                     PO Box 88741
                     Chicago, IL 60680-1741


                     United States Attorney
                     Peter Rodino Federal Building
                     970 Broad Street, Ste. 700
                     Newark, NJ 07102


                     United States Attorney General
                     United States Department of Justice
                     Ben Franklin Station
                     PO Box 683
                     Washington, DC 20044


                     Vida Remote
                     101 Marketside Avenue, Ste. 404-344
                     Ponte Vedra, FL 32081


                     Wilder Fields
                     1717 E. West Road
                     Calumet City, IL 60409


                     Woolco Foods Inc.
                     135 Amity Street
                     Jersey City, NJ 07304
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                                        United States Bankruptcy Court
                                                 District of New Jersey
 In re   703 Bakery Corp.                                                           Case No.   24-15150 (VFP)
                                                            Debtor(s)               Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 703 Bakery Corp. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




June 24, 2024                                  /s/ Anthony Sodono, III
Date                                           Anthony Sodono, III
                                               Signature of Attorney or Litigant
                                               Counsel for 703 Bakery Corp.
                                               McManimon, Scotland & Baumann, LLC
                                               75 Livingston Avenue
                                               Second Floor
                                               Roseland, NJ 07068
                                               973-622-1800 Fax:973-712-1463
                                               asodono@msbnj.com
